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 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10    TWANA BROWN, derivatively                on
11    behalf of INOGEN, INC.
12
                                                    Case No.:
             Plaintiff,
13
             v.                                     VERIFIED SHAREHOLDER
14                                                  DERIVATIVE COMPLAINT
15
      SCOTT WILKINSON, ALISON
      BAUERLEIN, BENJAMIN
16
      ANDERSON-RAY, SCOTT
      BEARDSLEY, R. SCOTT GREER,
17
      RAYMOND HUGGENBERGER,
      HEATH LUKATCH, LOREN
18
      MCFARLAND, and HEATHER RIDER,

19           Defendants,
20
             and                                    DEMAND FOR JURY TRIAL
21

22
      INOGEN, INC.,

23           Nominal Defendant.
24

25

26
27

28

                                Verified Shareholder Derivative Complaint
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 1
                                            INTRODUCTION
 2

 3          Plaintiff Twana Brown (“Plaintiff”), by her undersigned attorneys, derivatively and
 4    on behalf of Nominal Defendant Inogen, Inc. (“Inogen” or the “Company”), files this
 5    Verified Shareholder Derivative Complaint against Individual Defendants Scott
 6    Wilkinson, Alison Bauerlein, Benjamin Anderson-Ray, Scott Beardsley, R. Scott Greer,
 7    Raymond Huggenberger, Heath Lukatch, Loren McFarland, and Heather Rider
 8    (collectively, the “Individual Defendants,” and together with Inogen, the “Defendants”)
 9    for breaches of their fiduciary duties as directors and/or officers of Inogen, unjust
10    enrichment, waste of corporate assets, and violation of Section 14(a) of the Securities
11    Exchange Act of 1934 (the “Exchange Act”). As for Plaintiff’s complaint against the
12    Individual Defendants, she alleges the following based upon personal knowledge as to
13    her and her own acts, and information and belief as to all other matters, based upon, inter
14    alia, the investigation conducted by and through her attorneys, which included, among
15    other things, a review of the Defendants’ public documents, conference calls, and
16    announcements made by Defendants, United States Securities and Exchange Commission
17    (“SEC”) filings, wire and press releases published by and regarding Inogen, legal filings,
18    news reports, securities analysts’ reports and advisories about the Company, and
19    information readily obtainable on the Internet. Plaintiff believes that substantial
20    evidentiary support will exist for the allegations set forth herein after a reasonable
21    opportunity for discovery.
22
                                      NATURE OF THE ACTION
23

24          1.    This is a shareholder derivative action that seeks to remedy wrongdoing
25    committed by Inogen’s directors and officers from November 8, 2017 through the present
26    (the “Relevant Period”).
27          2.    Inogen is a medical technology company that primarily designs,
28    manufactures, and sells portable oxygen concentrators, and in 2017 it purported to be
                                                       1
                                   Verified Shareholder Derivative Complaint
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 1
      “the leading worldwide manufacturer of portable oxygen concentrators.” The company
 2
      prides itself on serving patients with respiratory diseases such as emphysema, chronic
 3
      bronchitis, and especially chronic obstructive pulmonary disease.
 4
            3.    As a provider of oxygen therapy, Inogen distinguishes itself from other U.S.
 5
      providers with its ‘direct-to-consumer strategy,’ marketing itself directly to patients
 6
      rather than to their physicians. The Company also conducts ‘business-to-business’
 7
      transactions domestically, selling its oxygen concentrators to home medical equipment
 8
      (“HME”) companies that then provide oxygen therapy to patients.
 9
            4.    Inogen also serves markets in Canada, Latin America, the Middle East,
10
      Africa, and the Asia-Pacific region, though it does not adopt the aforementioned ‘direct-
11
      to-consumer strategy’ abroad.
12
            5.    Inogen released its financial results for its third quarter of the fiscal year
13
      ended September 30, 2018 on November 6, 2018, after the close of trading. Despite
14
      generally favorable reports, the Company disclosed that sales growth for its domestic
15
      business-to-business sector had sharply declined to 32% from 56% in the second quarter
16
      of 2018. Inogen also modified its adjusted earnings before interest, taxes, depreciation,
17
      and amortization (“EBITDA”) from $65-69 million to $60-62 million for its fiscal year
18
      ended December 31, 2018.
19
            6.    On this news, the price per share of Inogen stock plummeted over 19% from
20
      its November 6, 2018 closing price of $193.30, dropping $37.44 to close at $155.86 per
21
      share on November 7, 2018.
22
            7.    On February 8, 2019, Muddy Waters Research (“Muddy Waters”), a due
23
      diligence-based accounting firm, released a report attacking the Company’s total
24
      accessible market (“TAM”) and growth projections as baseless and blatantly unrealistic.
25
      The report detailed that Inogen had, inter alia, based its projections on a substandard
26
      report by WinterGreen Research, cherry-picked the Medicare statistics upon which to
27
      base its TAM projections, overlooked the medical and financial realities of Medicare
28
                                                    2
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 1
      coverage for oxygen therapy, and failed to account for the losses of direct-to-customer
 2
      revenue that resulted from business-to-business growth.
 3
            8.    Following this news, Inogen’s stock price fell $3.02 per share, from a close
 4
      of $139.74 on February 7, 2019 to close at $136.72 per share on February 8, 2019.
 5
            9.    On February 12, 2019, Citron Research (“Citron”), an investment newsletter,
 6
      released a report of its own. Therein, Citron exposed Inogen’s suspect reseller network
 7
      and its practice of convincing customers of the false necessity to purchase overpriced
 8
      products. Specifically, many direct-to-consumer salespeople had made fraudulent sales
 9
      and artificially inflated the Company’s overall direct-to-consumer sales by telling aging,
10
      vulnerable patients that Inogen’s competitors’ products were not covered by Medicare.
11
            10.   Following Citron’s report, Inogen’s stock price dropped by over $4.00 per
12
      share, from a close of $142.09 on February 11, 2019 to close at $138.05 per share on
13
      February 12, 2019.
14
            11.    After the market closed on February 26, 2019, the Company issued a press
15
      release disclosing its financial results for both the fourth quarter and fiscal year ended
16
      December 31, 2018. The same day, Inogen held a conference call with analysts and
17
      investors. During the call, Defendant Scott Wilkinson (“Wilkinson”), citing poor
18
      business-to-business domestic sales, backed off from Inogen’s previous, ambitious TAM
19
      estimate of 2.5-3 million patients. He laid the blame for the sales slump with “one
20
      national home care provider in the fourth quarter of 2018” whose “order activity [had]
21
      slow[ed].” The press release went on to disclose a 9.5% drop in non-GAAP EBITDA
22
      from fiscal year ended December 31, 2017, resulting in a corresponding drop in its prior
23
      projections for fiscal 2019. These reductions in expectations for the upcoming year were
24
      attributed to the aforementioned drop in Inogen’s stock price since its November 6, 2018
25
      report.
26
            12.   Following these disclosures, Inogen’s stock price again fell, this time by
27
      $33.77 per share, or over 24%, to close at $106.28 per share on February 27, 2019. The
28
                                                    3
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 1
      trading volume represented more than seven times the average daily volume over the
 2
      previous five trading days, for more than 3.64 million shares traded.
 3
            13.    During the Relevant Period, the Individual Defendants breached their
 4
      fiduciary duties by making and/or causing the Company to make false and misleading
 5
      statements about Inogen’s business, operations, and compliance. Specifically, Defendants
 6
      made false and/or misleading statements and/or failed to disclose that: (1) the Company
 7
      was exaggerating the scope of its TAM for its portable oxygen concentrators; (2) Inogen
 8
      inaccurately reported the basis for its TAM determinations; (3) the Company
 9
      misattributed its sales success to the skill of its salesforce, when the true reason lay in
10
      dishonest sales techniques used to manipulate customers to pay Inogen’s higher prices (4)
11
      Inogen also reported exaggerated, unmaintainable growth in business-to-business
12
      domestic sales to HME suppliers, failing to disclose that such growth harmed its direct-
13
      to-consumer sales growth; (5) the Company overstated the proportion of its sales that
14
      were attributable to Medicare’s steadier market; and (6) Inogen failed to maintain internal
15
      controls. As a result of the foregoing, Inogen’s public statements were materially false
16
      and misleading at all relevant times.
17
            14.    The Individual Defendants also breached their fiduciary duties by failing to
18
      correct and/or causing the Company to fail to correct these false and misleading
19
      statements and omissions of material fact to the investing public.
20
            15.    Furthermore, during the Relevant Period, seven of the Individual Defendants
21
      breached their fiduciary duties by engaging in lucrative insider sales, obtaining proceeds
22
      of over $43.9 million.
23
            16.    In light of the Individual Defendants’ misconduct, which has subjected
24
      Inogen, its President and Chief Executive Officer (“CEO”), and its Chief Financial
25
      Officer (“CFO”), to being named as defendants in a federal securities fraud class action
26
      lawsuit pending in the United States District Court for the Central District of California
27
      (the “Securities Class Action”), the need to undertake internal investigations, the need to
28
                                                     4
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 1
      implement adequate internal controls over its financial reporting, the losses from the
 2
      waste of corporate assets, the losses due to the unjust enrichment of the Individual
 3
      Defendants who were improperly over-compensated by the Company and/or who
 4
      benefitted from the wrongdoing alleged herein, the Company will have to expend many
 5
      millions of dollars.
 6
               17.   In light of the breaches of fiduciary duty engaged in by the Individual
 7
      Defendants, most of whom are the Company’s current directors, their collective
 8
      engagement in fraud, the substantial likelihood of the directors’ liability in this derivative
 9
      action and the CEO’s and CFO’s liability in the Securities Class Action, their being
10
      beholden to each other, their longstanding business and personal relationships with each
11
      other, and their not being disinterested and/or independent directors, a majority of
12
      Inogen’s Board of Directors (the “Board”) cannot consider a demand to commence
13
      litigation against themselves on behalf of the Company with the requisite level of
14
      disinterestedness and independence.
15
                                    JURISDICTION AND VENUE
16
               18.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
17
      because Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange
18
      Act, 15 U.S.C. § 78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9.
19
               19.   This Court also has diversity jurisdiction pursuant to 28 U.S.C. § 1332
20
      because Plaintiff and Individual Defendants are citizens of different states, and the
21
      amount in controversy exceeds the sum or value of $75,000, exclusive of interest and
22
      costs.
23
               20.   Plaintiff’s claims also raise a federal question pertaining to the claims made
24
      in the Securities Class Action based on violations of the Exchange Act.
25
               21.   This Court has supplemental jurisdiction over Plaintiff’s state law claims
26
      pursuant to 28 U.S.C. § 1367(a).
27

28
                                                      5
                                  Verified Shareholder Derivative Complaint
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 1
             22.    This derivative action is not a collusive action to confer jurisdiction on a
 2
      court of the United States that it would not otherwise have.
 3
             23.    The Court has personal jurisdiction over each of the Defendants because
 4
      each Defendant is either a corporation incorporated in this District, or he or she is an
 5
      individual who has minimum contacts with this District to justify the exercise of
 6
      jurisdiction over them.
 7
             24.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401
 8
      because a substantial portion of the transactions and wrongs complained of herein
 9
      occurred in this District, and the Defendants have received substantial compensation in
10
      this District by engaging in numerous activities that had an effect in this District.
11
             25.    Venue is proper in this District because Inogen and the Individual
12
      Defendants have conducted business in this District, and Defendants’ actions have had an
13
      effect in this District.
14
                                               PARTIES
15
             Plaintiff
16
             26.    Plaintiff is a current shareholder of Inogen common stock. Plaintiff has
17
      continuously held Inogen common stock at all relevant times. Plaintiff is a citizen of the
18
      State of Texas.
19
             Nominal Defendant Inogen
20
             27.    Inogen is a Delaware corporation with its principal executive offices at 326
21
      Bollay Drive, Goleta, CA 93117. Inogen’s shares trade on the NASDAQ Global Select
22
      Market (“NASDAQ-GS”) under the ticker symbol “INGN.”
23
             Defendant Wilkinson
24
             28.    Defendant Wilkinson has served as a director and the Company’s CEO since
25
      January 1, 2017. He also served as COO and President of Inogen from January 1, 2016 to
26
      February 28, 2017. According to the Company’s Schedule 14A filed with the SEC on
27
      March 26, 2019 (the “2019 Proxy Statement”), as of March 15, 2019, Defendant
28
                                                     6
                                 Verified Shareholder Derivative Complaint
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 1
      Wilkinson beneficially owned 209,733 shares of the Company’s common stock. Given
 2
      that the price per share of the Company’s common stock at the close of trading on March
 3
      15, 2019 was $95.12, Defendant Wilkinson owned approximately $19.9 million worth of
 4
      Inogen stock.
 5
            29.   For the fiscal year ended December 31, 2018, Defendant Wilkinson received
 6
      $2,687,338 in compensation from the Company. This sum included $494,458 in salary,
 7
      $1,749,846 in stock awards, and $443,034 in non-equity incentive plan compensation.
 8
            30.   During the period when the Company materially misstated information to
 9
      the investing public to keep the stock price inflated, and before the scheme was exposed,
10
      Defendant Wilkinson made the following sales of company stock, and made no purchases
11
      of Company stock:
12                             Date        Shares Cost     Proceeds
13                        January 16, 2018 30,651 $115.40 $3,537,125
                            May 1, 2018     9,198 $171.07 $1,573,502
14                         August 1, 2018 17,188 $200.17 $3,440,522
15
      Thus, in total, before the fraud was exposed, he sold 57,037 Company shares on inside
16
      information, for which he received approximately $8.5 million. His insider sales made
17
      with knowledge of material non-public information before the material misstatements and
18
      omissions were exposed demonstrate his motive in facilitating and participating in the
19
      scheme.
20
            31.   The Company’s 2019 Proxy Statement stated the following about Defendant
21
      Wilkinson:
22
            Scott Wilkinson has served as our Chief Executive Officer and President
23          since March 1, 2017, and a Member of our Board since January 1,
24
            2017. Previously, he served as our President and Chief Operating Officer
            from January 1, 2016 through February 28, 2017, and our Executive Vice
25          President, Sales and Marketing from 2008 through December 31, 2015, and
26
            in this role he oversaw Inogen’s global operations in sales, marketing,
            customer service, product management, medical billing, and clinical
27          services. Prior to that, he served as our Director of Product Management
28
            from 2005 to 2006 and Vice President, Product Management from 2006 to
                                                    7
                                Verified Shareholder Derivative Complaint
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 1          2008. From 2000 to 2005, Mr. Wilkinson worked for Invacare Corporation,
 2          a designer and manufacturer of oxygen products, as a Group Product
            Manager and helped launch their $100 million oxygen product line
 3          segment. From 1999 to 2000, Mr. Wilkinson served as a Product Line
 4          Director with Johnson & Johnson, a healthcare company. From 1988 to
            1999, Mr. Wilkinson worked as a Research Scientist, Product Manager, and
 5          Project Leader at Kimberly Clark, a consumer products
 6          company. Mr. Wilkinson received a Bachelor of Science degree in
            Chemical Engineering from the University of Akron and an M.B.A. from
 7          University of Wisconsin, Oshkosh. The Board believes that he is qualified
 8          to serve as a director of Inogen due to his considerable knowledge and
            understanding of our business together with his extensive industry
 9          experience.
10          32.   Upon information and belief, Defendant Wilkinson is a citizen of the State
11    of Ohio.
12          Defendant Bauerlein
13          33.   Defendant Alison Bauerlein (“Bauerlein”) has served as Inogen’s CFO since
14    2009. According to the 2019 Proxy Statement, as of March 15, 2019, Defendant
15    Bauerlein beneficially owned 217,685 shares of the Company’s common stock. Given
16    that the price per share of the Company’s common stock at the close of trading on March
17    15, 2019 was $95.12, Defendant Bauerlein owned approximately $20.7 million worth of
18    Inogen stock.
19          34.   For the fiscal year ended December 31, 2018, Defendant Bauerlein received
20    $1,242,433 in compensation from the Company. This included $355,433 in salary,
21    $699,853 in stock awards, and $181,868 in non-equity incentive plan compensation.
22          35.   During the period of time when the Company materially misstated
23    information to the investing public to keep the stock price inflated, and before the scheme
24    was exposed, Defendant Bauerlein made the following sales of Company stock, and
25    made no purchases of Company stock:
26                          Date              Shares       Cost         Proceeds
                      February 9, 2018        11,718      $116.03      $1,359,640
27                   February 12, 2018        15,912      $116.77      $1,858,044
28                   February 14, 2018         9,737      $120.05      $1,168,927
                                                    8
                                Verified Shareholder Derivative Complaint
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 1                       February 15, 2018      1,982       $120.09      $ 238,018
 2                       February 16, 2018      8,808       $125.03      $1,101,264
                         February 20, 2018      3,192       $125.81      $ 401,586
 3                       February 21, 2018      12,000      $131.40      $1,576,800
 4                        March 8, 2018         15,911      $124.96      $1,988,239
                           June 11, 2018        5,000       $180.70      $ 903,500
 5

 6     Thus, in total, before the fraud was exposed, she sold 84,260 Company shares on inside
 7     information, for which she received approximately $10.6 million. Her insider sales made
 8     with knowledge of material non-public information before the material misstatements and
 9     omissions were exposed demonstrate her motive in facilitating and participating in the
10     scheme.
11           36.     The Company’s 2019 Proxy Statement stated the following about Defendant
12     Bauerlein:
13           Alison Bauerlein is a co-founder of Inogen and has served as our Chief
             Financial Officer since 2009 and Executive Vice President, Finance since
14           March 2014. Ms. Bauerlein has also served as Corporate Secretary and
15           Corporate Treasurer since 2002. Ms. Bauerlein previously served as our
             Vice President, Finance from 2008 until March 2014. Prior to serving in
16           these positions, Ms. Bauerlein also served as Controller with our company
17           from 2008 to 2009 and 2001 to 2004, and the Director of Financial Planning
             and Analysis from 2004 to 2008. Ms. Bauerlein has over 15 years’
18           experience in treasury, finance, accounting, risk management as well as
19           strategic and tactical cost analysis and forecasting. Ms. Bauerlein received a
             Bachelor of Arts degree in Economics/Mathematics with high honors from
20           the University of California, Santa Barbara.
21           37.     Upon information and belief, Defendant Bauerlein is a citizen of the State of
22     California.
23           Defendant Anderson-Ray
24           38.     Defendant Benjamin Anderson-Ray (“Anderson-Ray”) has served as a
25     Company director since 2013, and he is a member of the Audit Committee. According to
26     the 2019 Proxy Statement, as of March 15, 2019, Defendant Anderson-Ray beneficially
27     owned 31,505 shares of the Company’s common stock. Given that the price per share of
28
                                                      9
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 1
       the Company’s common stock at the close of trading on March 15, 2019 was $95.12,
 2
       Defendant Anderson-Ray owned approximately $3 million worth of Inogen stock.
 3
             39.    With Defendant Raymond Huggenberger (“Huggenberger”), Defendant
 4
       Anderson-Ray also serves on the Board of Directors for Sommetrics, Inc., a manufacturer
 5
       of sleep apnea machines.
 6
             40.    For the fiscal year ended December 31, 2018, Defendant Anderson-Ray
 7
       received $233,238 in compensation from the Company. This included $53,250 in cash
 8
       compensation and $179,988 in option awards.
 9
             41.    During the period of time when the Company materially misstated
10
       information to the investing public to keep the stock price inflated, and before the scheme
11
       was exposed, Defendant Anderson-Ray made the following sales of Company stock, and
12
       made no purchase of Company stock:
13                               Date      Shares Cost Proceeds
14                         January 2, 2018 1,000 $119.06 $119,060
                            April 17, 2018 1,000 $139.82 $139,820
15                           July 2, 2018   1,000 $184.88 $184,880
16                         October 1, 2018 1,000 $246.22 $246,220
17
       Thus, in total, before the fraud was exposed, he sold 4,000 Company shares on inside
18
       information, for which he received approximately $689,000. His insider sales made with
19
       knowledge of material non-public information before the material misstatements and
20
       omissions were exposed demonstrate his motive in facilitating and participating in the
21
       scheme.
22
             42.    The Company’s 2019 Proxy Statement stated the following about Defendant
23
       Anderson-Ray:
24          Benjamin Anderson-Ray has served as a Member of our Board since
25
            2013. He has been a Partner and Advisor with Trinitas Advisors, a
            consulting firm, since 2009. Prior to joining Trinitas Advisors, he served as
26          the Chief Executive Officer of three manufacturing companies: Hubbardton
27
            Forge, LLC from 2008 to 2009, Chromcraft Revington, Inc. from 2005 to
            2008 and Gravograph New Hermes from 2002 to 2004. Prior to that,
28
                                                     10
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 1           Mr. Anderson-Ray held various senior leadership roles at Sunrise Medical,
 2           Inc., a global manufacturer and distributor of durable medical equipment,
             including President of the Global Business Group in 2001, President of the
 3           Continuing Care Group from 1998 to 2000, and President of the Mobility
 4           Products Division from 1996 to 2001. Earlier in his career, Mr. Anderson-
             Ray held management and marketing roles at GE Lighting, a lighting
 5           solutions company, from 1984 to 1993, Black & Decker Home Products, a
 6           product manufacturing company, from 1993 to 1994, and Rubbermaid Home
             Products, a manufacturer and distributor of household items, from 1994 to
 7           1996. He currently serves on the Board of Directors of Sommetrics, Inc.
 8           Mr. Anderson-Ray has Bachelor of Art and Science degrees in Marketing
             and Horticulture from Michigan State University and an M.B.A. from the
 9           University of Michigan. The Board believes that he is qualified to serve as a
10           director of Inogen because of his leadership experience and his extensive
             industry experience.
11
             43.   Upon information and belief, Defendant Anderson-Ray is a citizen of the
12
       State of Vermont.
13
             Defendant Beardsley
14
             44.   Defendant Scott Beardsley (“Beardsley”) has served as a Company director
15
       since January 1, 2017, and he is a member of the Compensation, Nominating and
16
       Governance Committee.
17
             45.   Defendant Beardsley is also a Managing Partner of Novo Ventures (US), a
18
       consulting company and subsidiary of Novo Holdings A/S (“Novo”). Defendant
19
       Beardsley purportedly “is not deemed to be a beneficial owner of, nor does he have a
20
       reportable pecuniary interest in, the shares held by Novo Holdings A/S.” According to
21
       the 2019 Proxy Statement, Novo beneficially owns more shares of Inogen than any other
22
       company or individual, owning 3,549,320 (16.19%) of the Company’s shares as of March
23
       15, 2019.
24
             46.   The Company’s 2019 Proxy Statement stated the following about Defendant
25
       Beardsley:
26          Scott A. Beardsley has served as a Member of our Board since January 1,
27          2017. Mr. Beardsley is employed as a Managing Partner by Novo Ventures
            (US), Inc., which provides certain financial investment consultancy services
28
                                                   11
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 1           to Novo Holdings A/S, a Danish limited liability company that manages
 2           investments and financial assets. Mr. Beardsley has worked within Novo
             Holdings A/S and its investment activities since 2009 in several roles: since
 3           January 2018, Mr. Beardsley has been employed by Novo Ventures (US)
 4           Inc. as a Managing Partner; from 2016 through 2017, he was employed as a
             Senior Partner by Novo Ventures (US) Inc.; from December 2012 through
 5           2015, he was employed as a Partner by Novo Ventures (US) Inc.; and from
 6           2009 through 2012, he was employed as a Senior Partner by Novo Holdings
             A/S. Prior to joining Novo Holdings A/S, Mr. Beardsley was a Managing
 7           Director in the Health Care Group at J.P. Morgan, a banking and financial
 8           services company, from 2006 through 2008, and a Managing Director in the
             Health Care Group of US Bancorp Piper Jaffray, an investment bank, from
 9           2001 to 2006. Previously, Mr. Beardsley was an investment banker at US
10           Bancorp, Piper Jaffray, Montgomery Securities, an investment bank, and
             Kidder, Peabody & Co. Incorporated, an investment bank. Mr. Beardsley
11           currently serves as a member of the Board of Directors of Unchained Labs, a
12           life sciences tools company. Mr. Beardsley received his M.B.A. from the
             Anderson Graduate School of Management at UCLA and his Bachelor of
13           Science in Business Administration from Colorado State University. The
14           Board believes that he is qualified to serve as a director of Inogen due to his
             extensive financial experience and his experience as a venture capital
15           investor and investment banker in the life sciences industry.
16           47.     Upon information and belief, Defendant Beardsley is a citizen of the State of
17     California.
18           Defendant Greer
19           48.     Defendant R. Scott Greer (“Greer”) has served as a Company director since
20     August 2015, and also serves as the Chairperson of the Audit Committee. According to
21     the 2019 Proxy Statement, as of March 15, 2019, Defendant Greer beneficially owned
22     60,692 shares of the Company’s common stock. Given that the price per share of the
23     Company’s common stock at the close of trading on March 15, 2019 was $95.12,
24     Defendant Greer owned approximately $5.8 million worth of Inogen stock.
25           49.     For the fiscal year ended December 31, 2018, Defendant Greer received
26     $240,738 in compensation from the Company. This included $60,750 in cash
27     compensation and $179,988 in option awards.
28
                                                     12
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 1
                50.   The Company’s 2019 Proxy Statement stated the following about Defendant
 2
       Greer:
 3              R. Scott Greer has served as a Member of our Board since August 2015 and
 4              Chairperson of the Audit Committee since January 1, 2018. Since June
                2003, Mr. Greer has served as Managing Director of Numenor Ventures,
 5              LLC, a venture capital firm. In 1996, Mr. Greer co-founded Abgenix, Inc., a
 6              company that specialized in the discovery, development and manufacture of
                human therapeutic antibodies, and from June 1996 through May 2002, he
 7              served as its Chief Executive Officer. He also served on the Board of
 8              Directors of Abgenix from 1996 and Chairman of the Board of Directors
                from 2000 until the acquisition of Abgenix by Amgen, Inc. in April 2006.
 9              Prior to Abgenix’s formation, Mr. Greer held senior management positions
10              at Cell Genesys, Inc., a biotechnology company, initially as Chief Financial
                Officer and Vice President of Corporate Development and later as Senior
11              Vice President of Corporate Development, and various positions at Genetics
12              Institute, Inc., a biotechnology research and development company. Mr.
                Greer currently serves as a Member of the Board of Directors of Nektar
13              Therapeutics, a publicly-traded biopharmaceutical company (NKTR). Mr.
14              Greer holds a Bachelor of Arts in Economics from Whitman College and an
                M.B.A. from Harvard University. He also was a Certified Public
15              Accountant. The Board believes that he is qualified to serve as a director of
16              Inogen because of his experience as an accountant and as an executive and
                director of various public and private biotechnology and biopharmaceutical
17              companies.
18
                51.   Upon information and belief, Defendant Greer is a citizen of the State of
19
       Arizona.
20
                Defendant Huggenberger
21
                52.   Defendant Huggenberger has served as a Company director since 2018. He
22
       also served as the Company’s President from January 1, 2008 to January 1, 2016 and as
23
       its CEO from January 1, 2008 until January 1, 2017.
24
                53.   Defendant Huggenberger, with Defendant Anderson-Ray, also serves on the
25
       Board of Directors of Sommetrics, Inc.
26
                54.   According to the 2019 Proxy Statement, as of March 15, 2019, Defendant
27
       Huggenberger beneficially owned 89,584 shares of the Company’s common stock. Given
28
                                                      13
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 1
       that the price per share of the Company’s common stock at the close of trading on March
 2
       15, 2019 was $95.12, Defendant Huggenberger owned approximately $8.5 million worth
 3
       of Inogen stock.
 4
             55.   For the fiscal year ended December 31, 2018, Defendant Huggenberger
 5
       received $223,738 in compensation from the Company. This included $43,750 in cash
 6
       compensation and $179,988 in option awards.
 7
             56.   During the period of time when the Company materially misstated
 8
       information to the investing public to keep the stock price inflated, and before the scheme
 9
       was exposed, Defendant Huggenberger made the following sales of Company stock, and
10
       made no purchases of Company stock:
11                           Date          Shares           Cost         Proceeds
12                   November 15, 2017 14,000              $118.52      $1,659,280
                     December 15, 2017 14,000              $119.98      $1,679,720
13                    January 16, 2018     13,000          $116.19      $1,510,470
14                      June 15, 2018      10,444          $183.50      $1,916,474
                        July 16, 2018      10,593          $194.59      $2,061,292
15
                       August 15, 2018     10,500          $228.83      $2,402,715
16                   September 14, 2018 10,500             $282.52      $2,966,460
                      October 15, 2018     10,500          $197.40      $2,072,700
17
                     November 15, 2018      9,569          $129.44      $1,238,611
18                   December 14, 2018      8,500          $130.39      $1,108,315
19
                      January 15, 2019      8,500          $138.74      $1,179,290

20     Thus, in total, before the fraud was exposed, he sold 120,106 Company shares on inside
21     information, for which he received approximately $19.8 million. His insider sales made
22     with knowledge of material non-public information before the material misstatements and
23     omissions were exposed demonstrate his motive in facilitating and participating in the
24     scheme.
25           57.   The Company’s 2019 Proxy Statement stated the following about Defendant
26     Huggenberger:
27

28
                                                    14
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 1           Raymond Huggenberger has served as a Member of our Board since 2008.
 2           Mr. Huggenberger previously served as our Chief Executive Officer from
             2008 until March 1, 2017 and as our President from 2008 until January 1,
 3           2016. Prior to joining our company, Mr. Huggenberger held various
 4           management positions with Sunrise Medical Inc., a global manufacturer and
             distributor of durable medical equipment, including: Vice President of
 5           Marketing for Sunrise’s German subsidiary from 1994 to 1996, President of
 6           Sunrise’s German division from 1998 until 2000, President of the European
             Operating Group from 2000 to 2002, President and Chief Operating Officer
 7           from 2002 until 2004, and President of European Operations 2006 to
 8           2007. Mr. Huggenberger also held a consultant position with McDermott
             and Bull Inc., an executive search firm, from 2005 to 2006 and the position
 9           of Managing Director in the healthcare division of TA Triumph Adler AG, a
10           document process management firm, from 1996 to 1998. Mr. Huggenberger
             currently serves on the Board of Directors of Wellfount Corporation, a
11           pharmacy services company. He also serves on the Board of Directors of
12           Tactile Systems Technology Inc., a publicly-traded company (TCMD),
             Clarify Medical Inc., Ebb Therapeutics, and Sommetrics, Inc., which are all
13           medical device companies. Mr. Huggenberger graduated from AKAD
14           University in Rendsburg, Germany in Economics and completed the
             Advanced Marketing Strategies Program at INSEAD, Fontainebleau,
15           France. The Board believes that he is qualified to serve as a director of
16           Inogen because of his deep understanding of our business, operations and
             strategy and extensive executive and director roles with healthcare
17           companies.
18           58.    Upon information and belief, Defendant Huggenberger is a citizen of the
19     State of California.
20           Defendant Lukatch
21           59.    Defendant Heath Lukatch (“Lukatch”) has served as a Company director
22     since 2006 and as Chairperson of the Board since 2008. He is also a member of the
23     Compensation, Nominating and Governance Committee. According to the 2019 Proxy
24     Statement, as of March 15, 2019, Defendant Lukatch beneficially owned 33,318 shares of
25     the Company’s common stock. Given that the price per share of the Company’s common
26     stock at the close of trading on March 15, 2019 was $95.12, Defendant Lukatch owned
27     approximately $3.2 million worth of Inogen stock.
28
                                                   15
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 1
             60.    For the fiscal year ended December 31, 2018, Defendant Lukatch received
 2
       $296,238 in compensation from the Company. This included $116,250 in cash
 3
       compensation and $179,988 in option awards.
 4
             61.    During the period of time when the Company materially misstated
 5
       information to the investing public to keep the stock price inflated, and before the scheme
 6
       was exposed, Defendant Lukatch made the following sales of Company stock, and made
 7
       no purchases of Company stock:
 8                             Date             Shares       Cost        Proceeds
 9                       December 1, 2017        2,500      $126.73      $316,825
                          March 1, 2018          2,500      $119.59      $298,975
10                         June 6, 2018           500       $190.58      $ 95,290
11                         July 6, 2018           500       $193.66      $ 96,830
                          August 6, 2018          500       $211.41      $105,705
12
                        September 6, 2018         500       $261.75      $130,875
13                        October 5, 2018         500       $217.45      $108,725
                        November 6, 2018          500       $194.85      $ 97,425
14

15     Thus, in total, before the fraud was exposed, he sold 8,000 Company shares on inside
16     information, for which he received approximately $1.2 million. His insider sales made
17     with knowledge of material non-public information before the material misstatements and
18     omissions were exposed demonstrate his motive in facilitating and participating in the
19     scheme.
20           62.    The Company’s 2019 Proxy Statement stated the following about Defendant
21     Lukatch:
22           Heath Lukatch, Ph.D. has served as Chairperson of our Board since 2008,
             and as a director since 2006. Dr. Lukatch is employed as a Partner and
23           Managing Director at TPG Biotech. Dr. Lukatch joined TPG Biotech in
24           2015. Prior to joining TPG Biotech, Dr. Lukatch was a Partner at Novo
             Ventures (US) Inc., which provides certain consultancy services to Novo
25           Holdings A/S. Dr. Lukatch joined Novo Ventures (US) Inc. in 2006. From
26           2001 to 2006, Dr. Lukatch was a Managing Director responsible for
             biotechnology venture investments at Piper Jaffray Ventures and SightLine
27           Partners, a private equity firm and spin off of Piper Jaffray Ventures. Prior
28           to joining Piper Jaffray Ventures, Dr. Lukatch worked as a strategy
                                                    16
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 1           consultant with McKinsey & Company, a consulting firm, from 1997 to
 2           2000. Dr. Lukatch also served as co-founder and Chief Executive Officer of
             AutoMate Scientific, a biotechnology instrumentation company from 1991
 3           to 1997, and held scientific positions with Chiron Corporation, a
 4           biotechnology company, from 1990 to 1991, Roche Bioscience, a healthcare
             company, from 1996 to 1997, and Cetus Corporation, a biotechnology
 5           company, in 1987. He currently serves on the Boards of Directors of
 6           Adynxx, Ceribell, Engage Therapeutics, Flexion Therapeutics, Inc. (FLXN),
             Halo Neuroscience, Satsuma Pharma, SutroVax, Viacyte and ViewPoint
 7           Therapeutics. Dr. Lukatch received his Ph.D. in Neuroscience from Stanford
 8           University where he was a DOD USAF Fellow, and his Bachelor of Arts in
             Biochemistry from the University of California at Berkeley. The Board
 9           believes that he is qualified to serve as a director of Inogen because of his
10           extensive industry experience and experience as a venture capital investor
             and a board member for several venture-backed healthcare companies.
11
             63.     Upon information and belief, Defendant Lukatch is a citizen of the State of
12
       California.
13
             Defendant McFarland
14
             64.     Defendant Loren McFarland (“McFarland”) has served as a Company
15
       director since 2013, and he is a member of the Audit Committee. According to the 2019
16
       Proxy Statement, as of March 15, 2019, Defendant McFarland beneficially owned 46,403
17
       shares of the Company’s common stock. Given that the price per share of the Company’s
18
       common stock at the close of trading on March 15, 2019 was $95.12, Defendant
19
       McFarland owned approximately $4.4 million worth of Inogen stock.
20
             65.     For the fiscal year ended December 31, 2018, Defendant McFarland
21
       received $236,238 in compensation from the Company. This included $56,250 in cash
22
       compensation and $179,988 in option awards.
23
             66.     During the period of time when the Company materially misstated
24
       information to the investing public to keep the stock price inflated, and before the scheme
25
       was exposed, Defendant McFarland made the following sales of Company stock, and
26
       made no purchases of Company stock:
27                            Date         Shares            Cost       Proceeds
28                        March 1, 2018     2,000           $119.31     $238,620
                                                     17
                                  Verified Shareholder Derivative Complaint
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 1                         May 11, 2018          2,125     $181.17     $384,986
 2                         August 9, 2018        2,000     $229.99     $459,980
                          November 8, 2018       2,000     $155.24     $310,480
 3

 4     Thus, in total, before the fraud was exposed, he sold 8,125 Company shares on inside
 5     information, for which he received approximately $1.4 million. Defendant McFarland’s
 6     insider sales made with knowledge of material non-public information before the material
 7     misstatements and omissions were exposed demonstrate his motive in facilitating and
 8     participating in the scheme.
 9           67.    The Company’s 2019 Proxy Statement stated the following about Defendant
10     McFarland:
            Loren McFarland has served as a Member of our Board since 2013. He has
11
            been President and Managing Member of Santa Barbara Financial Services,
12          LLC since 2008. Prior to founding Santa Barbara Financial Services, he
            served as the Chief Financial Officer and Treasurer of Mentor Corporation, a
13
            medical equipment company, from 2004 to 2007. Prior to that,
14          Mr. McFarland fulfilled various finance and accounting roles at Mentor from
            1985 to 2004. He worked as a Certified Public Accountant and Audit
15
            Supervisor with Touche Ross & Co., an accounting firm, from 1981 to 1985
16          and served in the North Dakota Army National Guard from 1978 to
17
            1984. He currently serves on the Board of Directors and as the Chief
            Financial Officer of Cure Medical, LLC, a privately held manufacturer of
18          disposable urology products, on the Board of Directors of the MIT
19
            Enterprise Forum of the Central Coast and chairs the parish finance council
            for St. Mark’s University Parish, Isla Vista, CA. Previously, Mr. McFarland
20          served on the Board of Directors of Patient Safety Technologies, Inc., an
21
            acquired publicly-traded medical device company, as the Financial Expert
            on the Audit Committee and as a Member of the Compensation, Nominating
22          and Governance Committee. Mr. McFarland has a Bachelor of Arts degree
23          in Accounting from the University of North Dakota and an M.B.A. from the
            University of California, Los Angeles. He completed an ISS Director
24          Certification Program in October 2008 at the University of California, Los
25          Angeles’ Anderson School. The Board believes that he is qualified to serve
            as a director of Inogen because of his leadership experience and his
26          extensive experience in finance and accounting.
27           68.    Upon information and belief, Defendant McFarland is a citizen of the State
28
                                                    18
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 1
       of California.
 2
                Defendant Rider
 3
                69.   Defendant Heather Rider (“Rider”) has served as a Company director since
 4
       2014. Currently, Defendant Rider serves as the Chairperson of the Compensation,
 5
       Nominating and Governance Committee. According to the 2019 Proxy Statement, as of
 6
       March 15, 2019, Defendant Rider beneficially owned 26,489 shares of the Company’s
 7
       common stock. Given that the price per share of the Company’s common stock at the
 8
       close of trading on March 15, 2019 was $95.12, Defendant Rider owned approximately
 9
       $2.5 million worth of Inogen stock.
10
                70.   For the fiscal year ended December 31, 2018, Defendant Rider received
11
       $240,238 in compensation from the Company. This included $60,250 in cash
12
       compensation and $179,988 in option awards.
13
                71.   During the period of time when the Company materially misstated
14
       information to the investing public to keep the stock price inflated, and before the scheme
15
       was exposed, Defendant Rider made the following sales of Company stock, and made no
16
       purchases of Company stock:
17                             Date               Shares      Cost       Proceeds
18                      February 26, 2018          5,222     $131.60     $687,215
                          June 6, 2018             2,250     $191.09     $429,953
19                      September 6, 2018          2,250     $259.55     $583,988
20
       Thus, in total, before the fraud was exposed, she sold 9,722 Company shares on inside
21
       information, for which she received approximately $1.7 million. Her insider sales made
22
       with knowledge of material non-public information before the material misstatements and
23
       omissions were exposed demonstrate her motive in facilitating and participating in the
24
       scheme.
25
                72.   The Company’s 2019 Proxy Statement stated the following about Defendant
26
       Rider:
27
                Heather Rider has served as a Member of our Board since 2014 and
28              Chairperson of the Compensation, Nominating and Governance Committee
                                                     19
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 1           since January 1, 2018. From 2012 to 2013, Ms. Rider served as Vice
 2           President, Global Human Resources of Cymer, Inc., a publicly-traded
             supplier of light sources for semiconductor manufacturing that was acquired
 3           by ASML Holding NV in 2013. From October 2010 to September 2012,
 4           Ms. Rider served as Senior Vice President, Global Human Resources of
             Alphatec Holdings, Inc., a publicly-traded medical device company focused
 5           on surgical treatment of spine disorders, and from 2006 to 2010, she served
 6           as Vice President, Human Resources of Intuitive Surgical, Inc., a publicly-
             traded manufacturer of robotic surgical systems. From 2001 to 2005,
 7           Ms. Rider served as Senior Vice President of Global Human Resources of
 8           Sunrise Medical, Inc., a global manufacturer and distributor of durable
             medical equipment. From 1998 to 2001, Ms. Rider served as Vice President
 9           of Human Resources of Biosense Webster, a member of the Johnson &
10           Johnson family of companies, and a medical device manufacturer of
             intracardiac catheters and location technology. Prior to 1998, Ms. Rider
11           served as Head of Human Resources for City of Hope, a leading research
12           and treatment center for cancer, diabetes and other life-threatening diseases,
             CAP/MPT, a medical malpractice provider for physicians in California and
13           medical malpractice insurance for large physician groups and hospitals, and
14           Environmental Diagnostics International, a bio-diagnostics company with
             focus on the detection of environmental compounds and diseases using
15           monoclonal antibody technology. Ms. Rider holds a Bachelor of Arts in
16           Psychology from Claremont McKenna College and an M.B.A. from
             Pepperdine University. The Board believes that she is qualified to serve as a
17           director of Inogen because of her extensive executive-level experience with
18           healthcare and life science companies.
19           73.      Upon information and belief, Defendant Rider is a citizen of the State of

20     California.

21                   FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

22
             74.      By reason of their positions as officers, directors, and/or fiduciaries of
23
       Inogen and because of their ability to control the business and corporate affairs of Inogen,
24
       the Individual Defendants owed Inogen and its shareholders fiduciary obligations of trust,
25
       loyalty, good faith, and due care, and were and are required to use their utmost ability to
26
       control and manage Inogen in a fair, just, honest, and equitable manner. The Individual
27

28
                                                     20
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 1
       Defendants were and are required to act in furtherance of the best interests of Inogen and
 2
       its shareholders so as to benefit all shareholders equally.
 3
             75.    Each director and officer of the Company owes to Inogen and its
 4
       shareholders the fiduciary duty to exercise good faith and diligence in the administration
 5
       of the Company and in the use and preservation of its property and assets and the highest
 6
       obligations of fair dealing.
 7
             76.    The Individual Defendants, because of their positions of control and
 8
       authority as directors and/or officers of Inogen, were able to and did, directly and/or
 9
       indirectly, exercise control over the wrongful acts complained of herein.
10
             77.    To discharge their duties, the officers and directors of Inogen were required
11
       to exercise reasonable and prudent supervision over the management, policies, controls,
12
       and operations of the Company.
13
             78.    Each Individual Defendant, by virtue of his or her position as a director
14
       and/or officer, owed to the Company and to its shareholders the highest fiduciary duties
15
       of loyalty, good faith, and the exercise of due care and diligence in the management and
16
       administration of the affairs of the Company, as well as in the use and preservation of its
17
       property and assets. The conduct of the Individual Defendants complained of herein
18
       involves a knowing and culpable violation of their obligations as directors and officers of
19
       Inogen, the absence of good faith on their part, or a reckless disregard for their duties to
20
       the Company and its shareholders that the Individual Defendants were aware or should
21
       have been aware posed a risk of serious injury to the Company. The conduct of the
22
       Individual Defendants who were also officers and directors of the Company has been
23
       ratified by the remaining Individual Defendants who collectively comprised Inogen’s
24
       Board at all relevant times.
25
             79.    As senior executive officers and directors of a publicly-traded company
26
       whose common stock was registered with the SEC pursuant to the Exchange Act and
27
       traded on the NASDAQ-GS, the Individual Defendants, had a duty to prevent and not to
28
                                                     21
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 1
       effect the dissemination of inaccurate and untruthful information with respect to the
 2
       Company’s financial condition, performance, growth, operations, financial statements,
 3
       business, products, management, earnings, internal controls, and present and future
 4
       business prospects, and had a duty to cause the Company to disclose omissions of
 5
       material fact in its regulatory filings with the SEC all those facts described in this
 6
       Complaint that it failed to disclose, so that the market price of the Company’s common
 7
       stock would be based upon truthful and accurate information.
 8
             80.    To discharge their duties, the officers and directors of Inogen were required
 9
       to exercise reasonable and prudent supervision over the management, policies, practices,
10
       and internal controls of the Company. By virtue of such duties, the officers and directors
11
       of Inogen were required to, among other things:
12
                    (a)   ensure that the Company was operated in a diligent, honest, and
13
       prudent manner in accordance with the laws and regulations of Delaware, California, and
14
       the United States, and pursuant to Inogen’s own Code of Ethics and Conduct;
15
                    (b)   conduct the affairs of the Company in an efficient, business-like
16
       manner so as to make it possible to provide the highest quality performance of its
17
       business, to avoid wasting the Company’s assets, and to maximize the value of the
18
       Company’s stock;
19
                    (c)   remain informed as to how Inogen conducted its operations, and, upon
20
       receipt of notice or information of imprudent or unsound conditions or practices, to make
21
       reasonable inquiry in connection therewith, and to take steps to correct such conditions or
22
       practices;
23
                    (d)   establish and maintain systematic and accurate records and reports of
24
       the business and internal affairs of Inogen and procedures for the reporting of the
25
       business and internal affairs to the Board and to periodically investigate, or cause
26
       independent investigation to be made of, said reports and records;
27

28
                                                    22
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 1
                      (e)   maintain and implement an adequate and functioning system of
 2
       internal legal, financial, and management controls, such that Inogen’s operations would
 3
       comply with all applicable laws and Inogen’s financial statements and regulatory filings
 4
       filed with the SEC and disseminated to the public and the Company’s shareholders would
 5
       be accurate;
 6
                      (f)   exercise reasonable control and supervision over the public statements
 7
       made by the Company’s officers and employees and any other reports or information that
 8
       the Company was required by law to disseminate;
 9
                      (g)   refrain from unduly benefiting themselves and other Company
10
       insiders at the expense of the Company; and
11
                      (h)   examine and evaluate any reports of examinations, audits, or other
12
       financial information concerning the financial affairs of the Company and to make full
13
       and accurate disclosure of all material facts concerning, inter alia, each of the subjects
14
       and duties set forth above.
15
             81.      Each of the Individual Defendants further owed to Inogen and the
16
       shareholders the duty of loyalty requiring that each favor Inogen’s interest and that of its
17
       shareholders over their own while conducting the affairs of the Company and refrain
18
       from using their position, influence or knowledge of the affairs of the Company to gain
19
       personal advantage.
20
             82.      At all times relevant hereto, the Individual Defendants were the agents of
21
       each other and of Inogen and were at all times acting within the course and scope of such
22
       agency.
23
             83.      Because of their advisory, executive, managerial, and directorial positions
24
       with Inogen, each of the Individual Defendants had access to adverse, non-public
25
       information about the Company.
26
             84.      The Individual Defendants, because of their positions of control and
27
       authority, were able to and did, directly or indirectly, exercise control over the wrongful
28
                                                        23
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 1
       acts complained of herein, as well as the contents of the various public statements issued
 2
       by Inogen.
 3
              CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
 4

 5             85.   In committing the wrongful acts alleged herein, the Individual Defendants
 6     have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
 7     concert with and conspired with one another in furtherance of their wrongdoing. The
 8     Individual Defendants caused the Company to conceal the true facts as alleged herein.
 9     The Individual Defendants further aided and abetted and/or assisted each other in
10     breaching their respective duties.
11             86.   The purpose and effect of the conspiracy, common enterprise, and/or
12     common course of conduct was, among other things, to facilitate and disguise the
13     Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust
14     enrichment, waste of corporate assets, and violations of Section 14(a) of the Exchange
15     Act.
16             87.   The Individual Defendants accomplished their conspiracy, common
17     enterprise, and/or common course of conduct by causing the Company purposefully,
18     recklessly,   or   negligently   to   conceal    material    facts,    fail   to   correct   such
19     misrepresentations, and violate applicable laws. In furtherance of this plan, conspiracy,
20     and course of conduct, the Individual Defendants collectively and individually took the
21     actions set forth herein. Because the actions described herein occurred under the authority
22     of the Board, each of the eight Individual Defendants who are Directors was a direct,
23     necessary, and substantial participant in the conspiracy, common enterprise, and/or
24     common course of conduct complained of herein.
25             88.   Each of the Individual Defendants aided and abetted and rendered
26     substantial assistance in the wrongs complained of herein. In taking such actions to
27     substantially assist the commission of the wrongdoing complained of herein, each of the
28     Individual Defendants acted with actual or constructive knowledge of the primary
                                                     24
                                  Verified Shareholder Derivative Complaint
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 1
       wrongdoing, either took direct part in, or substantially assisted the accomplishment of
 2
       that wrongdoing, and was or should have been aware of his or her overall contribution to
 3
       and furtherance of the wrongdoing.
 4
             89.    At all times relevant hereto, each of the Individual Defendants was the agent
 5
       of each of the other Individual Defendants and of Inogen and was at all times acting
 6
       within the course and scope of such agency.
 7
                                   INOGEN’S CODE OF CONDUCT
 8
             90.    The Company’s Code of Ethics and Conduct (the “Code of Conduct”)
 9
       “applies to all Inogen employees (including officers) and directors of Inogen.”
10
             91.    The Code of Conduct contains a section pertaining to insider trading,
11
       reminding employees that it is unethical and illegal, stating in relevant part:
12
             No employee or director in possession of material, non-public information
13
             may trade Inogen’s securities (or advise others to trade) from the time they
14           obtain such information until after adequate public disclosure of the
             information has been made. Those subject to this Code who knowingly trade
15
             Inogen securities while in possession of material, non-public information or
16           who tip information to others may be subject to appropriate disciplinary
             and/or enforcement action, which may include termination of employment,
17
             consistent with applicable laws.
18           92.    The Code of Conduct also speaks to the Company’s policies on fair dealing,
19     stating in relevant part:
20
             Inogen seeks to excel while operating fairly and honestly, never through
21           unethical or illegal business practices. Each employee and director should
22           endeavor to deal fairly with Inogen’s customers, suppliers, vendors,
             competitors, and employees. No employee or director should take unfair
23           advantage of anyone through manipulation, concealment, abuse of
24           privileged information, misrepresentation of material facts, or any other
             unfair dealing practices.
25

26           93.    The Code of Conduct’s section on recordkeeping outlines its requirement of
27     honest and accurate reporting of books, records, accounts, and financial statements:
28
                                                      25
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 1           All of Inogen’s books, records, accounts, and financial statements must…
 2           appropriately reflect the transactions and matters to which they relate, and
             must conform both to applicable legal requirements, accounting standards
 3           and to Inogen’s system of internal control requirements… The omission of,
 4           or making of false or misleading entries into, records or documentation is
             strictly prohibited…
 5
             94.    The Code of Conduct also addresses the Company’s disclosure obligations,
 6
       emphasizing its commitment to full compliance with relevant regulations and laws:
 7
             Inogen files reports and other documents with the Securities and Exchange
 8
             Commission, the NASDAQ Global Market, tax authorities, and other
 9           governmental and regulatory agencies. In addition, from time to time,
             Inogen makes other public announcements, such as issuing press releases.
10
             Employees involved in the preparation of these reports, documents, or
11           announcements are expected to use all reasonable care and efforts to ensure
             that Inogen’s disclosures and presentations are fair, complete, accurate,
12
             objective, relevant, timely and understandable. In addition, employees are
13           expected to comply with Inogen’s disclosure controls and procedures, which
             are designed to ensure full, fair, accurate, timely and understandable
14
             disclosure in our public reports and communications. If an employee
15           believes that any public disclosure by Inogen is materially false or
             misleading, if any employee becomes aware of material information that the
16
             employee believes should be disclosed to the public, or if any employee
17           believes that questionable accounting or auditing conduct or practices have
             occurred or are occurring, the employee should follow the reporting
18
             procedures in Section III…
19
             95.    The Code of Conduct also contains a section outlining both its reporting
20
       requirement for illegal or unethical behavior, and its ‘no retaliation’ policy. Specifically,
21
       the Code of Conduct states, in relevant part, that:
22
             Any employee or director who observes possible unethical or illegal conduct
23           is encouraged to report such concerns. Reprisal, threats, retribution, or
24           retaliation against any person who has, in good faith, reported a violation or
             suspected violation of law, this Code, or other Inogen policies, or against
25           any person who, in good faith, is assisting in any investigation or process
26           with respect to such a violation, is prohibited.
27           96.    The Individual Defendants violated Inogen’s Code of Conduct by engaging

28     in or permitting the scheme to issue materially false and misleading statements to the
                                                     26
                                  Verified Shareholder Derivative Complaint
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 1
       investing public and to facilitate and disguise the Individual Defendants’ violations of
 2
       law, including breaches of fiduciary duty, waste of corporate assets, unjust enrichment,
 3
       and violations of Section 14(a) of the Exchange Act, and failing to report the same.
 4
                          INDIVIDUAL DEFENDANTS’ MISCONDUCT
 5
             Background
 6
             97.   Inogen is an American medical technology company headquartered in
 7
       California that designs, manufactures, and markets portable oxygen concentrators. These
 8
       oxygen concentrators are primarily used to administer ‘oxygen therapy’ to patients with
 9
       various respiratory problems.
10
             98.   The Company reported that for the fiscal year ended December 31, 2017,
11
       during which it acquired a new Dutch subsidiary, 22.3% of its total revenue came from
12
       outside the United States. That year, Inogen sold products in 45 foreign countries
13
       spanning across North America, Latin America, Europe, Africa, the Middle East, and the
14
       Asia-Pacific Region.
15
             99.   Inogen reports its finances through three sales channels: direct-to-consumer;
16
       business-to-business; and international. Direct-to-consumer sales concern domestic
17
       purchases directly between Inogen and an individual patient, whereas business-to-
18
       business sales represent domestic transactions between Inogen and HME providers.
19
             100. During the Relevant Period, unbeknownst to Inogen’s investors, the
20
       Company had engaged in fraudulent marketing techniques in its direct-to-consumer sales,
21
       most prominently by falsely representing that Inogen’s oxygen concentrator was covered
22
       by Medicare, but that its competitors’ products were not.
23
             101. Beginning on November 8, 2017, the Company issued multiple statements
24
       through SEC filings and press releases that reported an artificially inflated TAM and
25
       exaggerated the skill of its salesforce. Inogen accordingly projected robust growth for its
26
       domestic sales channels in its public statements to investors, analysts, and the SEC from
27
       November 2017 through February 2019.
28
                                                    27
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 1
              102. Inogen’s stated growth projections during the Relevant Period were based
 2
       largely on a disreputable research company named WinterGreen Research, Inc. In its
 3
       report to Inogen, WinterGreen plagiarized the New York Times and cherry-picked
 4
       Medicare statistics, purposefully selecting a metric that counts a one-week oxygen user
 5
       equally with a one-year oxygen user, to inflate the size of the general oxygen market as
 6
       well as Inogen’s customer base.
 7
              103. In February 2019, Muddy Waters and Citron each published a report
 8
       detailing Inogen’s falsehoods and material omissions in its public statements. Both
 9
       reports revealed the lack of any logical basis for Inogen’s TAM and growth projections;
10
       the only explanation for these figures were based on dubious research and dishonest sales
11
       tactics.
12
              False and Misleading Statements
13
              November 7, 2017 Press Release, 10-Q, and Conference Call
14
              104. After the market closed on November 7, 2017, Inogen issued a press release
15
       publishing its financial results for the third fiscal quarter of 2017, ended September 30,
16
       2017, and offering projections for the final quarter of 2017.
17
              105. The Company celebrated its “[r]ecord total revenue of $69.0 million,” and
18
       boosted its projections for fourth quarter 2017 revenue to a “range [of]… $244 to $288
19
       million… [for] year-over-year growth of 20.3% to 22.3%, and compares to previous
20
       guidance of $239 to $243 million.” Inogen predicted that its two domestic channels
21
       would have the most robust growth, with “rental revenue [expected] to decline in 2017
22
       compared to 2016 by approximately 32%.” While the Company maintained its prior net
23
       income for the fiscal year 2017, it increased its 2017 Adjusted EBITDA to $49-51
24
       million (from $48-$50 million) and gave a predicted range for 2018 total income of $295-
25
       $305 million (an increase of 19.9%-24.0% from 2017’s guidance midpoint). The release
26
       went on to predict that direct-to-consumer sales would experience the most growth, with
27
       “relatively flat” rental revenue, in 2018, along with a “net income estimate of $31 to $35
28
                                                     28
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 1
       million” for fiscal year 2018. Finally, Inogen estimated an Adjusted EBITDA of $60 to
 2
       $64 million for the fiscal year 2018, an increase of 20-28% over 2017’s mid-point
 3
       guidance.
 4
              106. Inogen’s sales growth was a triumphant focus for the press release, with the
 5
       Company “increasing its guidance range for full year 2017 revenue to $244 to $248
 6
       million, which represents year-over-year growth of 20.3% to 22.3%, and compares to
 7
       previous guidance of $239 to $243 million. The Company expects direct-to-consumer
 8
       sales and domestic business-to-business sales to be our strongest growing channels and to
 9
       have similar growth rates” for the remainder of fiscal year 2017.
10
              107. The press release attributed the Company’s impressive performance, and its
11
       optimistic projections, to the strength of the market and to the ability of its salesforce,
12
       stating that:
13
              The third quarter of 2017 was a record revenue quarter for us, driven by
14
              increased sales in our domestic business-to-business and direct-to-consumer
15            channels... We are executing on our strategic initiatives and remain focused
              on increasing adoption of our best-in-class oxygen product offerings across
16
              all of our channels. We believe we should see strong results in 2018 as
17            portable oxygen concentrators continue to be adopted worldwide.
18
              108. The same day, Inogen filed its quarterly report with the SEC on Form 10-Q
19
       (“3Q17”), which addressed its sales growth and TAM projections:
20
21            Portable oxygen concentrators represented the fastest-growing segment of
              the Medicare oxygen therapy market between 2012 and 2016. The Company
22            estimates based on 2016 Medicare data that patients using portable oxygen
23            concentrators represent approximately 9.1% of the total addressable oxygen
              market in the United States, although the Medicare data does not account for
24            private insurance and cash-pay sales into the market. Based on 2016 industry
25            data, the Company believes it was the leading worldwide manufacturer of
              portable oxygen concentrators… Since adopting the Company’s direct-to-
26            consumer strategy in 2009 following its acquisition of Comfort Life Medical
27            Supply, LLC, which had an active Medicare billing number but few other
              assets and limited business activities, the Company has directly sold or
28
                                                    29
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 1           rented more than 327,000 of its Inogen oxygen concentrators as of
 2           September 30, 2017.
             109. Attached to the 3Q17 were certifications pursuant to Rule 13a-14(a) and
 3
       15d-14(a) under Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants Wilkinson
 4
       and Bauerlein attesting to the accuracy of the 3Q17.
 5
             110. Finally, Defendant Wilkinson also held a conference call on November 7,
 6
       2017, again touting the skill of Inogen’s salesforce and crediting it with the Company’s
 7
       present and projected revenue growth, stating, in pertinent part:
 8

 9           We continued to steadily invest in direct-to-consumer sales force additions
             in the United States. We also worked to optimize our new customer
10
             relationship management, or CRM system, and I’m pleased that we have
11           delivered such strong sales and solid bottom line results during the third
             quarter while we were still investing in training and productivity
12
             improvements in the system.
13
       (Emphasis added).
14
             111. Defendant Bauerlein also spoke to Inogen’s growth and TAM, comparing
15
       management’s expectations for its two domestic channels and stating, in relevant part:
16

17           So when you look at that, while certainly B2B has a lower gross margin
             profile, it also has much lower operating expenses associated with it. So
18
             when we look at the market opportunity, we look to capture share both on
19           the B2B side and the direct to consumer side, because we’re relatively
             agnostic on the bottom-line. What we have been doing though is continuing
20
             to invest in the B2C side, because we’re still very early in the market
21           penetration curve, as Scott said earlier, 9% or so penetration in the last data
             as of the end of 2016. We still have a long ramp to go to continue to take
22
             share, both on the direct-to-consumer side, as well as the business to
23           business side away from the tank-based business model.
24           So our focus really is to make sure that we maintain a market leadership
             position, and that we continue to grow the market both on direct-to-
25           consumer side and the B2B side and not to drive a specific mix in our
26           business. Now, inherent in guidance in 2018 is that direct-to-consumer sales
             would be the fastest growing channel. So that would actually be a tailwind to
27
             gross margin expansion over the course of the year.
28
                                                     30
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 1
             112. These announcements were met with a favorable market response on
 2
       November 8, 2019, when Inogen’s stock increased from the prior day’s close of $101.65
 3
       to $117.38 per share on more than 2.4 million shares traded.
 4
             February 27, 2018 10-K and Press Release
 5
             113. On February 27, 2018, the Company filed its Annual Report for the fiscal
 6
       year ended December 31, 2017 with the SEC on Form 10-K (the “2017 10-K”), signed by
 7
       all nine of the Individual Defendants.
 8
             114. Like the November 7, 2017 press release, the 2017 10-K highlighted both
 9
       the strong portable oxygen market and its secure position therein, stating, in relevant part:
10
             Portable oxygen concentrators represented the fastest-growing segment of
11
             the Medicare oxygen therapy market between 2012 and 2016. We estimate
12           based on 2016 Medicare data that the total number of patients using portable
             oxygen concentrators represents approximately 9.1% of the total addressable
13
             oxygen market in the United States, although the Medicare data does not
14           account for private insurance and cash-pay patients in the market. Based on
             2016 industry data, we believe we were the leading worldwide manufacturer
15
             of portable oxygen concentrators.
16                                               ***
17           Our market
             We believe the current total addressable oxygen therapy market in the
18           United States is approximately $3 billion to $4 billion, based on 2016
19           Medicare data and our estimate of the ratio of the Medicare market to the
             total market. As of 2016, we estimate that there are 4.5 million patients
20           worldwide who use oxygen therapy, including 2.5 to 3 million patients in
21           the United States, and more than 60% of oxygen therapy patients in the
             United States are covered by Medicare. The number of oxygen therapy
22           patients in the United States is projected to grow by approximately 7% to
23           10% per year between 2017 and 2021, which we believe is the result of
             earlier diagnosis of chronic respiratory conditions, demographic trends and
24           longer durations of long-term oxygen therapy.
25

26                                              ***
             According to our analysis of 2016 Medicare data, approximately 70% of
27           U.S. oxygen users require ambulatory oxygen and the remaining 30% are
28           considered stationary, and either require oxygen twenty-four hours a day,
                                                     31
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 1           seven days a week, or 24/7, but are not ambulatory, or do not require oxygen
 2           24/7 and only need nocturnal oxygen… Despite the ability of portable
             oxygen concentrators to address many of the shortcomings of traditional
 3           oxygen therapy, we estimate based on 2016 Medicare data that the total
 4           number of patients on portable oxygen concentrators represents
             approximately 9.1% of the total addressable oxygen market in the United
 5           States, although the Medicare data does not account for private insurance
 6           and cash-pay patients in the market.

 7     (Emphasis added).
 8           115. Attached to the 2017 10-K were SOX certifications signed by Defendants
 9     Wilkinson and Bauerlein, attesting to the accuracy of the 2017 10-K.
10           116. On that same day, Inogen issued a press release reporting its financial
11     information for the fiscal year ended December 31, 2017 and its projections for the fiscal
12     year 2018. The Company reported that for the fiscal year 2017 “[t]otal revenue of $63.8
13     million” had gone “up 25.4% over the same period in 2016,” and it used this figure, inter
14     alia, to justify its ambitious fiscal year 2018 projections of “full year 2018 GAAP net
15     income and non-GAAP net income guidance range to $36 to $39 million, up from $31 to
16     $35 million, representing growth of 71.4% to 85.7% compared to 2017 GAAP income of
17     $21.0 million and growth of 26.0% to 36.5% compared to 2017 non-GAAP net income of
18     $28.6 million.” Inogen also planned on “maintaining its guidance range for full year 2018
19     Adjusted EBITDA of $60 to $64 million, representing 18.0% to 25.9% growth compared
20     to 2017 results.” In more general terms, the Company predicted “direct-to-consumer sales
21     to be its fastest growing channel, domestic business-to-business sales to have a solid
22     growth rate,” and finally for “rental revenue to be relatively flat in 2018 compared to
23     2017, as the Company continues to focus on sales versus rentals.”
24           March 27, 2018 Proxy Statement
25           117. The Company filed its 2018 Proxy Statement with the SEC on March 27,
26     2018. Defendants Anderson-Ray, Beardsley, Greer, Huggenberger, Lukatch, McFarland,
27

28
                                                    32
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 1
       Rider, and Wilkinson solicited the 2018 Proxy Statement filed pursuant to Section 14(a)
 2
       of the Exchange Act, which contained material misstatements and omissions.1
 3
              118. The 2018 Proxy Statement briefly discussed the Code of Conduct, stating in
 4
       relevant part:
 5
              Our Board has adopted Corporate Governance Principles. These principles
 6
              address items such as the qualifications and responsibilities of our directors
 7            and director candidates and corporate governance policies and standards
              applicable to us in general. In addition, our Board has adopted a Code of
 8
              Ethics and Conduct that applies to all of our employees, officers and
 9            directors, including our Chief Executive Officer, Chief Financial Officer,
              and other executive and senior financial officers… We intend to post any
10
              amendments to our Code of Ethics and Conduct, and any waivers of our
11            Code of Ethics and Conduct for directors and executive officers, on the same
              website.
12
               119. As of June 13, 2019, there were no waivers of the Code of Conduct for
13
       directors or officers on Inogen’s website.2
14
              120. The 2018 Proxy Statement was false and misleading because, despite
15
       assertions to the contrary, its Code of Conduct was not followed, as evidenced by the
16
       numerous false and misleading statements alleged herein, the insider trading engaged in
17
       by seven of the Individual Defendants, and the Individual Defendants’ failures to report
18
       violations of the Code of Conduct.
19
              121. The Individual Defendants also caused the 2018 Proxy Statement to be false
20
       and misleading with regard to executive compensation in that they purported to employ
21
       “pay-for-performance” elements, including cash and equity awards designed to: “align
22
       the interests of our executive officers with both short-term and long-term stockholders’
23

24

25     1
         Plaintiff’s allegations with respect to the misleading statements in the 2018 Proxy Statement are based
26     solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on
       behalf of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff
27     specifically disclaims any allegations of, reliance upon any allegation of, or reference to any allegation
       of fraud, scienter, or recklessness with regard to these allegations and related claims.
28     2
         http://investor.inogen.com/govdocs. Last visited June 13, 2019.
                                                         33
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 1
       interests” while failing to disclose that the Inogen’s share price was artificially inflated as
 2
       a result of false and misleading statements alleged herein.
 3
                122. The 2018 Proxy Statement also failed to disclose, inter alia, that: (1) the
 4
       Company was exaggerating the scope of its TAM for its oxygen concentrators; (2)
 5
       Inogen inaccurately reported the basis for its TAM and business-to-business sales
 6
       determinations; (3) the Company misattributed its sales success to the skill of its
 7
       salesforce, when the true reason lay in dishonest sales techniques used to manipulate
 8
       customers to pay Inogen’s higher prices (4) Inogen also reported exaggerated,
 9
       unmaintainable growth in business-to-business domestic sales to HME suppliers, failing
10
       to disclose that such growth harmed its direct-to-consumer sales growth; (5) the
11
       Company overstated the proportion of its sales that were attributable to Medicare’s
12
       steadier market; and (6) Inogen failed to maintain internal controls. As a result of the
13
       foregoing, Inogen’s public statements were materially false and misleading at all relevant
14
       times.
15
                April 30, 2018 10-Q, Press Release, and Conference Call
16
                123. On April 30, 2018, Inogen filed its quarterly report with the SEC for the
17
       period ended March 31, 2018 on a Form 10-Q (the “1Q18”), in which the Company
18
       incorporated by reference the 2017 10-K’s business overview. This section reiterated
19
       that:
20              Portable oxygen concentrators represented the fastest-growing segment of
21              the Medicare oxygen therapy market between 2012 and 2016. The
                Company estimates based on 2016 Medicare data that the number of patients
22              using portable oxygen concentrators represents approximately 9.1% of the
23              total addressable oxygen market in the United States, although the Medicare
                data does not account for private insurance and cash-pay patients in the
24              market.
25
                124. Attached to the 1Q18 were SOX certifications signed by Defendants
26
       Wilkinson and Bauerlein, attesting to the accuracy of the 1Q18.
27

28
                                                      34
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 1
             125. The press release, issued the same day, also announced the Company’s
 2
       financial results for the prior quarter, but focused on even more confident predictions for
 3
       the fiscal year 2018. Inogen’s 1Q18 revenues, for example, had increased a ‘record’
 4
       “50.6% over the same period in 2017” to reach $79.1 million, with the same period
 5
       seeing an 81.4% increase in net income in the same period, reaching $10.8 million. The
 6
       Company correspondingly “increas[ed] its full year 2018 total revenue guidance range to
 7
       $310 to $320 million, up from $298 to $308 million, representing growth of 24.3% to
 8
       28.3% versus 2017 full year results.” Additionally, Inogen “increas[ed] its full year 2018
 9
       GAAP net income and non-GAAP net income guidance range to $38 to $41 million, up
10
       from $36 to $39 million, representing growth of 80.9% to 95.2% compared to 2017
11
       GAAP net income of $21.0 million and growth of 33.0% to 43.5% compared to 2017
12
       non-GAAP net income of $28.6 million,” and also increasing the fiscal year 2018’s
13
       “Adjusted EBITDA to $62 to $67 million, up from $60 to $64 million, representing
14
       22.0% to 31.8% growth compared to 2017 results.” Finally, much like its report on fiscal
15
       year 2017, Inogen repeated that it “continue[d] to expect direct-to-consumer sales to be
16
       its fastest growing channel, domestic business-to-business sales to have a solid growth
17
       rate, and” that “rental revenue to be down approximately 10% in 2018 compared to 2017
18
       as the Company continues to focus on sales versus rentals.”
19
             126. In relating its individual channels’ success to its general financial statements
20
       and projections, the press release offered the following:
21
             Total revenue for the three months ended March 31, 2018 rose 50.6% to
22
             $79.1 million from $52.5 million in the same period in 2017. Direct-to-
23           consumer sales rose 67.8% over the same period in 2017, ahead of
             expectations primarily due to increased sales representative headcount and
24
             associated consumer marketing. Domestic business-to-business sales
25           exceeded expectations and grew 60.4% over the same period in 2017,
             primarily driven by continued strong demand from the Company’s private
26
             label partner and traditional home medical equipment providers.
27
                                                   ***
28
                                                     35
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 1           Inogen is increasing its full year 2018 total revenue guidance range to $310
 2           to $320 million, up from $298 to $308 million, representing growth of
             24.3% to 28.3% versus 2017 full year results. The Company continues to
 3           expect direct-to-consumer sales to be its fastest growing channel, [and]
 4           domestic business-to-business sales to have a solid growth rate...

 5
       (Emphasis added).
 6

 7           127. Defendant Wilkinson, quoted in the press release, again attributed Inogen’s
 8     performance to a strong market and skilled sales force, stating, in relevant part:
             In what is historically a seasonally slower quarter, we were able to generate
 9
             record revenues driven by strong sales in both our domestic direct-to-
10           consumer and domestic business-to-business channels... We are executing
             on our strategic initiatives and remain focused on increasing adoption of our
11
             best-in-class oxygen product offerings across all of our sales channels. We
12           are currently ahead of schedule to meet our plan of hiring 240 Cleveland-
             based employees by 2020. We believe we should see strong sales growth in
13
             2018 as portable oxygen concentrator penetration increases worldwide.
14

15           128. A conference call was also held on April 30, 2018, in which Defendant
16     Wilkinson, addressing Inogen’s past and projected growth, outlined the Company’s plan
17     as follows:
18           Our record direct-to-consumer sales of $28.7 million in the first quarter of
19           2018 exceeded our expectations, primarily due to increased sales
             representative headcount and associated consumer spending.             We’re
20           currently ahead of schedule to meet our plan of hiring 240 Cleveland-based
21           employees by 2020, with the majority of those being sales reps. Given our
             recent success, our strategy is to steadily to hire additional sales
22           representatives throughout 2018 and continue to invest in marketing
23           activities to increase consumer awareness as we believe that it’s still our
             most effective means to drive growth of the direct-to-consumer sales. In
24           fact, we expect to release a new TV commercial to showcase the benefits of
25           our portable oxygen concentrators in the second quarter. Further, we
             initiated a direct-to-consumer pricing trial in the second quarter of 2018 to
26           ensure our products are optimally priced. We expect to provide an update
27           on this trial on our next earnings call. First quarter of 2018 domestic
             business-to-business sales of $28 million was a record for us and exceeded
28
                                                    36
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 1           our expectations, primarily due to continued success with our private label
 2           partner and traditional home medical equipment providers.

 3                                               ***
             Looking ahead, I’m very proud of our Inogen associates and the progress
 4
             made in what has historically been a seasonally slower quarter. While we’ve
 5           been engaged in multiple initiatives to fuel future growth, we’ve accelerated
             current growth, especially in the domestic direct-to-consumer and
 6
             business-to-business sales channels. I’m very pleased with the increased
 7           adoption in these markets with our best-in-class and patient-preferred
             products.
 8

 9     (Emphasis added).
10           129. Defendant Bauerlein reiterated the prediction that “direct-to-consumer sales
11     [would] be our fastest-growing channel” also expecting “domestic business-to-business
12     sales to have a significant growth rate.” Additionally, when answering about future
13     business-to-business growth and the interaction of the business-to-business and direct-to-
14     consumer channels, she also referenced the estimated TAM, stating, in relevant part:
15
             So when you look at that, while certainly B2B has a lower gross margin
16           profile, it also has much lower operating expenses associated with it. So
             when we look at the market opportunity, we look to capture share both on
17
             the B2B side and the direct to consumer side, because we’re relatively
18           agnostic on the bottom-line. What we have been doing though is continuing
             to invest in the B2C side, because we’re still very early in the market
19
             penetration curve, as Scott said earlier, 9% or so penetration in the last data
20           as of the end of 2016. We still have a long ramp to go to continue to take
             share, both on the direct-to-consumer side, as well as the business to
21
             business side away from the tank-based business model.
22
             So our focus really is to make sure that we maintain a market leadership
23
             position, and that we continue to grow the market both on direct-to-
24           consumer side and the B2B side and not to drive a specific mix in our
             business. Now, inherent in guidance in 2018 is that direct-to-consumer sales
25
             would be the fastest growing channel. So that would actually be a tailwind to
26           gross margin expansion over the course of the year.
27

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 1
               130. Inogen’s stock price again increased on these announcements, surging from
 2
       a close of $140.58 per share on April 30, 2018 to a close of $173.17 per share on May 1,
 3
       2018.
 4
               August 7, 2018 10-Q, Press Release, and Conference Call
 5
               131. On August 7, 2018, the Company filed its quarterly report with the SEC for
 6
       the period ended June 30, 2018 on a Form 10-Q (the “2Q18”).
 7
               132. The 2Q18 incorporated by reference the 2017 10-K’s overview of the
 8
       portable oxygen market, stating, in relevant part:
 9
               Portable oxygen concentrators represented the fastest-growing segment of
10
               the Medicare oxygen therapy market between 2012 and 2016. The Company
11             estimates based on 2016 Medicare data that the number of patients using
               portable oxygen concentrators represents approximately 9.1% of the total
12
               addressable oxygen market in the United States, although the Medicare data
13             does not account for private insurance and cash-pay patients in the market.
               Based on 2016 industry data, the Company believes it was the leading
14
               worldwide manufacturer of portable oxygen concentrators.
15             133. Attached to the 2Q18 were SOX certifications signed by Defendants
16     Wilkinson and Bauerlein, attesting to the accuracy of the 2Q18.
17             134. The press release issued the same day announced the “record” performance
18     in the second quarter of 2018 and increased the projections yet again for Inogen’s total
19     revenue, GAAP and non-GAAP net income, and Adjusted EBITDA for the fiscal year
20     2018. For the second quarter of 2018, revenue increased to $97.2 million, “51.6% over
21     the same period in 2017” and net income increased to $14.6 million, representing a jump
22     of 75.2% in the same time frame. Due largely to these favorable results, the Company
23     “increas[ed] its full year 2018 total revenue guidance range to $340 to $350 million, up
24     from $310 to $320 million, representing growth of 36.3% to 40.3% versus 2017 full year
25     results.” It went on to “increas[e] its full year 2018 GAAP net income and non-GAAP net
26     income guidance range to $45 to $48 million, up from $38 to $41 million, representing
27     growth of 114.3% to 128.5% compared to 2017 GAAP net income of $21.0 million and
28
                                                     38
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 1
       growth of 57.5% to 67.9% compared to 2017 non-GAAP net income of $28.6 million,”
 2
       with fiscal year 2018’s “Adjusted EBITDA to $65 to $69 million, up from $62 to $67
 3
       million, representing 27.9% to 35.7% growth compared to 2017 results.” More generally,
 4
       Inogen still anticipated that “direct-to-consumer sales [would] be its fastest growing
 5
       channel, domestic business-to-business sales to have a significant growth rate, and
 6
       international business-to-business sales to have a solid growth rate,” with “rental revenue
 7
       [] down approximately 10% in 2018 compared to 2017 as the Company continue[d] to
 8
       focus on sales.”
 9
             135. As support for these projections, Defendant Wilkinson again touted the skill
10
       of Inogen’s salesforce, stating, in pertinent part:
11
             The second quarter of 2018 was a notably strong quarter for us as we
12
             generated record revenue across all three sales channels, while also reporting
13           record operating income... We are continuing to execute on our strategy to
             hire additional sales representatives and invest in advertising activities to
14
             increase consumer awareness as we believe this is still our most effective
15           means to drive high revenue growth and portable oxygen concentrator
             adoption.
16

17     (Emphasis added).
18
             136. Inogen also held a conference call on August 7, 2018, during which the
19
       theme of the Company’s skilled sales force was repeated by Defendant Wilkinson:
20
21           Looking ahead, I’m very proud of our Inogen associates and the progress
             made thus far in 2018. While we’ve been engaged in multiple initiatives to
22           fuel future growth, we’ve accelerated our current growth, especially in the
23           domestic direct-to-consumer and business-to-business sales channels. I’m
             very pleased with the increased adoption in these markets with our best-in-
24           class and patient preferred products.
25
       (Emphasis added).
26
27

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 1
             137. In response to an analyst’s question regarding “the sustainability of
 2
       business-to-business,” Defendant Wilkinson participated in the following dialogue:
 3
             [Analyst]: I was hoping you could talk about the sustainability of business-
 4
             to-business. This is one that can be lumpy, but it does look like it’s really
 5           moving in the direction of full adoption here. So I think what people would
             really like to better understand is, what inning are we in, in terms of
 6
             adoption from the larger players, the middle sized and the smaller players?
 7           And how sustainable is it in the near term? And what could be [rallied] here
             in your opinion?
 8
             [Wilkinson]: Yes. It’s – I just mentioned in the previous question that I
 9           think in the what inning we’re in [sic], second inning, maybe third inning,
10           but certainly, we’re in the first third of the game, if you will.

11
             138. Inogen’s stock price increased in response to these announcements and

12
       remarks, with an increase of $16.82 per share from $213.26 at close on August 7, 2018 to

13
       close at $230.08 on August 8, 2018. Following these developments, the Company’s stock

14
       then went on to increase in value, reaching its apex during the Relevant Period on

15
       September 14, 2018, at over $282 per share.

16
             139. The statements in ¶¶ 104-116 and 123-137 were materially false and

17
       misleading, and they failed to disclose material facts necessary to make the statements

18
       made not false and misleading. Specifically, the Individual Defendants improperly failed

19
       to disclose, inter alia, that: (1) the Company was exaggerating the scope of its TAM for

20
       its oxygen concentrators; (2) Inogen inaccurately reported the basis for its TAM

21
       determinations; (3) the Company misattributed its sales success to the skill of its

22
       salesforce, when the true reason lay in dishonest sales techniques used to manipulate

23
       customers to pay Inogen’s higher prices (4) Inogen also reported exaggerated,

24
       unmaintainable growth in business-to-business domestic sales to HME suppliers, failing

25
       to disclose that such growth harmed its direct-to-consumer sales growth; (5) the

26
       Company overstated the proportion of its sales that were attributable to Medicare’s

27
       steadier market; and (6) Inogen failed to maintain internal controls. As a result of the

28
                                                   40
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 1
       foregoing, Inogen’s public statements were materially false and misleading at all relevant
 2
       times.
 3
            The Truth Begins to Emerge as False and Misleading Statements Continue
 4
                140. On November 6, 2018, Inogen filed its quarterly report with the SEC for the
 5
       period ended September 30, 2018 on a Form 10-Q (“3Q18”).
 6
                141. Largely reiterating the 2017 10-K in describing the broad strokes of the
 7
       Company’s business, the 3Q18 offered updated statistics, stating, in relevant part:
 8
                Portable oxygen concentrators represented the fastest-growing segment of
 9
                the Medicare oxygen therapy market between 2012 and 2017. The Company
10              estimates based on 2017 Medicare data that the number of patients using
                portable oxygen concentrators represents approximately 10.8% of the total
11
                addressable oxygen market in the United States, although the Medicare
12              data does not account for private insurance and cash-pay patients in the
                market.
13

14     (Emphasis added).
15              142. Attached to the 3Q18 were SOX certifications signed by Defendants
16     Wilkinson and Bauerlein, attesting to the accuracy of the 3Q18.
17              143. Inogen also issued a press release on the same day, disclosing a “[t]otal
18     revenue of $95.3 million, up 38.0% over the same period in 2017” as well as a “net
19     income of $16.4 million, reflecting a 123.9% increase over the same period in 2017.”
20     Defendant Wilkinson was once again quoted, describing the preceding quarter as
21     “another successful [one] for [the Company,] as [it] generated strong revenue across all
22     three sales channels,” adding that it was “continuing to execute on [its] strategy to hire
23     additional sales representatives and invest in advertising activities to increase consumer
24     awareness as [it] believe[d] this [was] still [the] most effective means to drive high
25     revenue growth and portable oxygen concentrator adoption.”
26              144. Turning to its fiscal year 2018 predictions, Inogen deviated from its prior
27     pattern of steadily increasing its expectations. This time the Company “narrow[ed]” its
28
                                                      41
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 1
       fiscal year 2018 net income guidance, stating it would come in at a range of “$46 to $48
 2
       million,” from its $45 to $48 million target announce in the 2Q18. As before, however,
 3
       Inogen still “expect[ed] direct-to-consumer sales to be its fastest growing channel,” with
 4
       “domestic business-to-business sales [still] hav[ing] a significant growth rate,” and
 5
       finally “international business-to-business sales [also still] hav[ing] a solid growth rate.”
 6
             145. Finally, Inogen held a conference call with analysts and investors later on
 7
       November 6, 2018, Defendant Wilkinson once more ascribed the Company’s impressive
 8
       direct-to-consumer sales to its skilled sales force stating, in relevant part:
 9
             Looking ahead to 2019, we expect to remain a high growth company and to
10
             continue to invest heavily in our sales force, advertising efforts and
11           operations in order to drive portable oxygen concentrator adoption
             worldwide. We also expect to open new international markets such as China
12
             by year-end 2020, and we plan to continue to invest in regulatory approval
13           and business infrastructure in 2019 to support this initiative.
14
             146. In spite of favorable projections and sales reports, Inogen’s stock price fell
15
       significantly upon news of reduced growth projections. The Company anticipated a
16
       sizeable drop off in business-to-business sales growth for 2Q18 (from 56% to 32%) and
17
       lowered EBITDA projections from $65-$69 million to $60-$62 for the fiscal year 2018.
18
             147. After the 3Q18 announced these results, Inogen’s common stock price
19
       dropped by $37.44 per share (over 19%), from a close of $193.30 on November 6, 2018
20
       to close at $155.86 on November 7, 2018, on an extremely high volume of 2.64 million
21
       shares traded.
22
             148. The statements in ¶¶ 140-146 were materially false and misleading, and they
23
       failed to disclose material facts necessary to make the statements made not false and
24
       misleading. Specifically, the Individual Defendants improperly failed to disclose, inter
25
       alia, that: (1) the Company was exaggerating the scope of its TAM for its oxygen
26
       concentrators; (2) Inogen inaccurately reported the basis for its TAM determinations; (3)
27
       the Company misattributed its sales success to the skill of its salesforce, when the true
28
                                                      42
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 1
       reason lay in dishonest sales techniques used to manipulate customers to pay Inogen’s
 2
       higher prices (4) Inogen also reported exaggerated, unmaintainable growth in business-
 3
       to-business domestic sales to HME suppliers, failing to disclose that such growth harmed
 4
       its direct-to-consumer sales growth; (5) the Company overstated the proportion of its
 5
       sales that were attributable to Medicare’s steadier market; and (6) Inogen failed to
 6
       maintain internal controls. As a result of the foregoing, Inogen’s public statements were
 7
       materially false and misleading at all relevant times.
 8
                                           The Truth Fully Emerges
 9
             149. On February 8, 2019, Muddy Waters Research released a detailed report
10
       disputing the reported 2.5 to 3 million TAM that Inogen had previously claimed. The
11
       report’s core claim was that the Company’s TAM was only 1.3 million instead of the
12
       estimated 2.5-3.0 million, and that the latter figure was based on flagrantly unreliable
13
       research from WinterGreen Research, Inc.
14
             150. The means of arriving at the TAM and growth projections touted by Inogen
15
       involved, in some cases, “three layers of numerical manipulation,” by selectively
16
       ignoring sources of data, cherry-picking Medicare statistics, and ignoring the interaction
17
       of its own two sales channels. Specifically, Inogen’s and WinterGreen’s projections
18
       accounted for neither the portion of ambulatory oxygen patients who are not candidates
19
       for portable oxygen concentrators, nor the 3-year Medicare cap on oxygen devices.
20
       These factors led Muddy Waters to predict that, contrary to Inogen’s projected 7-10%
21
       annual growth, the Company would reach its sales “peak no later than next year.”
22
             151. The Muddy Waters report went on to characterize Inogen as a prime
23
       example of “much of what is dysfunctional about today’s capital markets: Misleading
24
       statements by management, shoddy market research presented as authoritative, thorough
25
       sell-side capture, and of course significant enrichment of insiders through stock sales.”
26
       This assessment led Muddy Waters to target the stock at only $46, compared to the
27
       opening price of $138.57 per share on the date that the report was published.
28
                                                     43
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 1
             152. Following the Muddy Waters report, Inogen’s stock price fell approximately
 2
       $3.00 per share, from a close of $139.74 on February 7, 2019 to close at $136.72 on
 3
       February 8, 2019, on a high volume of over 2 million shares traded.
 4
             153. Citron Research followed with its own report on February 12, 2019,
 5
       exposing Inogen’s “dirty” systems of reselling and its practice of taking advantage of its
 6
       aging customers through deception. The report revealed that the Company’s highest
 7
       reseller was a recently released felon, convicted on deceptive internet marketing charges.
 8
       According to Citron, it was through this reseller and others that Inogen apparently
 9
       schemed to take over Google’s ad listings. Finally, Citron described Inogen’s practice of
10
       lying to patients by telling them that their Medicare would cover Inogen’s oxygen
11
       concentrators, but not the (more competitively priced) competing providers’ products.
12
       The grievances from defrauded customers were drawn from the Better Business Bureau’s
13
       website.
14
             154. Citron’s report, like Muddy Waters’, went on to value Inogen’s stock at only
15
       $46, due to both its low percentage of revenue from Medicare (under 10%) and its falsely
16
       inflated direct-to-consumer sales that resulted from the fraud described above.
17
             155. After the Citron report, Inogen’s stock price, which had begun to rebound,
18
       dropped by over $4.00 per share, from a February 11, 2019 close of $142.09 per share to
19
       close on February 12, 2019 at $138.05 per share.
20
             156. After the market closed on February 26, 2019, Inogen filed its annual report
21
       on a Form 10-K with the SEC and issued a press release publishing its financial results
22
       for the fourth quarter and fiscal year ended December 31, 2018, as well as its projections
23
       for the fiscal year 2019. It reported a decrease of 9.5% year-over-year in non-GAAP
24
       EBITDA for the fourth quarter of 2018, with predictions that “rental revenue [would]
25
       grow modestly in 2019 compared to 2018, despite the additional 3.9% decline in portable
26
       oxygen concentrator Medicare reimbursement rates effective January 1, 2019 . . .” Also
27
       in its fiscal year 2019 projections, Inogen lowered its anticipated net income from $48-
28
                                                    44
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 1
       $50 million to $40-$44 million, citing “an estimated decrease in excess tax benefits
 2
       recognized from stock-based compensation from $12 million to $4 million, due to the
 3
       Company’s current stock price and fewer expected option exercises in 2019.”
 4
             157. Defendant Wilkinson also held a conference call on February 26, 2019,
 5
       during which he reversed Inogen’s previous TAM estimate of 2.5-3 million, stating:
 6
             [W]e’ve looked at it a few different ways. We keep landing in that same
 7
             area. I will emphasize that we’ve always said 2.5 million to 3 million, we
 8           haven’t said 3.0 million or anything, it’s kind of an acknowledgment that it’s
             an estimate, it’s probably a tougher estimate now than it used to be because
 9
             of the movement within the data sources. But I think, the key is it’s not 20
10           million, it’s not 500,000. We feel very good about that estimate, no change
             to that.
11
             158. Following these disclosures, the Company’s price per share dropped further
12
       (over 24%) from a closing price of $140.06 on February 26, 2019 to close at $106.28 on
13
       February 27, 2019, on an extremely high trading volume of 3.64 million shares traded.
14
                                      DAMAGES TO INOGEN
15
             159. As a direct and proximate result of the Individual Defendants’ conduct,
16
       Inogen has lost and expended, and will lose and expend, many millions of dollars.
17
             160. Such expenditures include, but are not limited to, legal fees associated with
18
       two Securities Class Action filed against the Company, its CEO, and its CFO, and
19
       amounts paid to outside lawyers, accountants, and investigators in connection thereto.
20
             161. Such losses include, but are not limited to, handsome compensation and
21
       benefits paid to the Individual Defendants who breached their fiduciary duties to the
22
       Company, including bonuses tied to the Company’s attainment of certain objectives, and
23
       benefits paid to the Individual Defendants who breached their fiduciary duties to the
24
       Company.
25
             162. As a direct and proximate result of the Individual Defendants’ conduct,
26
       Inogen has also suffered and will continue to suffer a loss of reputation and goodwill, and
27
       a “liar’s discount” that will plague the Company’s stock in the future due to the
28
                                                    45
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 1
       Company’s and their misrepresentations and the Individual Defendants’ breaches of
 2
       fiduciary duties and unjust enrichment.
 3
                                    DERIVATIVE ALLEGATIONS
 4
             163. Plaintiff brings this action derivatively and for the benefit of Inogen to
 5
       redress injuries suffered, and to be suffered, as a result of the Individual Defendants’
 6
       breaches of their fiduciary duties as directors and/or officers of Inogen, waste of
 7
       corporate assets, unjust enrichment, and violations of Section 14(a) of the Exchange Act,
 8
       as well as the aiding and abetting thereof.
 9
             164. Inogen is named solely as a nominal party in this action. This is not a
10
       collusive action to confer jurisdiction on this Court that it would not otherwise have.
11
             165. Plaintiff is, and has continuously been at all relevant times, a shareholder of
12
       Inogen. Plaintiff will adequately and fairly represent the interests of Inogen in enforcing
13
       and prosecuting its rights, and, to that end, has retained competent counsel, experienced
14
       in derivative litigation, to enforce and prosecute this action.
15
                                DEMAND FUTILITY ALLEGATIONS
16
             166. Plaintiff incorporates by reference and re-alleges each and every allegation
17
       stated above as if fully set forth herein.
18
             167. A pre-suit demand on the Board of Inogen is futile and, therefore, excused.
19
       At the time of filing of this action, the Board consists of the following eight Individual
20
       Defendants: Wilkinson, Anderson-Ray, Beardsley, Greer, Huggenberger, Lukatch,
21
       McFarland, and Rider (collectively, the “Directors”). Plaintiff needs only to allege
22
       demand futility as to four of the eight Directors that were on the Board at the time this
23
       action was commenced.
24
             168. Demand is excused as to all of the Directors because each one of them faces,
25
       individually and collectively, a substantial likelihood of liability as a result of the scheme
26
       they engaged in knowingly or recklessly to make and/or cause the Company to make
27
       false and misleading statements and omissions of material facts, while six of them
28
                                                      46
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 1
       engaged in insider sales based on material non-public information, netting proceeds of
 2
       over $33.3 million, which renders them unable to impartially investigate the charges and
 3
       decide whether to pursue action against themselves and the other perpetrators of the
 4
       scheme.
 5
             169. In complete abdication of their fiduciary duties, the Directors either
 6
       knowingly or recklessly participated in making and/or causing the Company to make the
 7
       materially false and misleading statements alleged herein. The fraudulent scheme was,
 8
       inter alia, intended to make the Company appear more profitable and attractive to
 9
       investors. As a result of the foregoing, the Directors breached their fiduciary duties, face
10
       a substantial likelihood of liability, are not disinterested, and demand upon them is futile,
11
       and thus excused.
12
             170. Additional reasons that demand on Defendant Wilkinson is futile follow.
13
       Defendant Wilkinson has served as the Company’s CEO and director since January 1,
14
       2017. He previously served as COO and President from January 2016 to February 2017.
15
       Thus, as the Company admits, he is a non-independent director. The Company provides
16
       Defendant Wilkinson with his principal occupation, and he receives handsome
17
       compensation, including $2,687,338 during fiscal year 2018. Defendant Wilkinson was
18
       ultimately responsible for all of the false and misleading statements and omissions that
19
       were made, including those contained in the 2017 10-K, which he signed and signed SOX
20
       certifications for. As the Company’s highest officer and as a trusted Company director,
21
       he conducted little, if any, oversight of the Company’s engagement in the scheme to
22
       make false and misleading statements, consciously disregarded his duties to monitor such
23
       controls over reporting and engagement in the scheme, and consciously disregarded his
24
       duties to protect corporate assets. His insider sales before the fraud was exposed, which
25
       yielded approximately $8.5 million in proceeds, demonstrate his motive in facilitating
26
       and participating in the fraud.
27

28
                                                     47
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 1
             171. Furthermore, Defendant Wilkinson is a defendant in the Securities Class
 2
       Action. For this reason, too, Defendant Wilkinson breached his fiduciary duties, faces a
 3
       substantial likelihood of liability, is not independent or disinterested, and thus demand
 4
       upon him is futile and, therefore, excused.
 5
             172. Additional reasons that demand on Defendant Anderson-Ray is futile follow.
 6
       Defendant Anderson-Ray has served as a Company director since 2013, and he is a
 7
       member of the Audit Committee. The Company provides Defendant Anderson-Ray with
 8
       handsome compensation, including $233,238 during fiscal year 2018. As a trusted
 9
       Company officer, he conducted little, if any, oversight of the Company’s engagement in
10
       the scheme to make false and misleading statements, consciously disregarded his duties
11
       to monitor such controls over reporting and engagement in the scheme, and consciously
12
       disregarded his duties to protect corporate assets. Defendant Anderson-Ray signed, and
13
       thus personally made, the false and misleading statements in the 2017 10-K. His insider
14
       sales before the fraud was exposed, which yielded approximately $689,000 in proceeds,
15
       demonstrate his motive in facilitating and participating in the fraud.
16
             173. Additional reasons that demand on Defendant Beardsley is futile follow.
17
       Defendant Beardsley has served as a Company director since January 1, 2017 and serves
18
       as a member of the Compensation, Nominating, and Governance Committee. As a
19
       Company director he conducted little, if any, oversight of the Company’s engagement in
20
       the scheme to make false and misleading statements, consciously disregarded his duties
21
       to monitor such controls over reporting and engagement in the scheme, and consciously
22
       disregarded his duties to protect corporate assets. Defendant Beardsley also signed, and
23
       thus personally made the false and misleading statements in the 2017 10-K. For these
24
       reasons, Defendant Beardsley breached his fiduciary duties, faces a substantial likelihood
25
       of liability, is not independent or disinterested, and thus demand upon him is futile and,
26
       therefore, excused.
27

28
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 1
             174. Additional reasons that demand on Defendant Greer is futile follow.
 2
       Defendant Greer has served as a Company director since August 2015 and serves as the
 3
       Chairperson of the Audit Committee. Defendant Greer receives handsome compensation,
 4
       including $240,738 during fiscal year 2018. As a Company director he conducted little, if
 5
       any, oversight of the Company’s engagement in the scheme to make false and misleading
 6
       statements, consciously disregarded his duties to monitor such controls over reporting
 7
       and engagement in the scheme, and consciously disregarded his duties to protect
 8
       corporate assets. Furthermore, Defendant Greer signed, and thus personally made the
 9
       false and misleading statements in, the 2017 10-K. For these reasons, too, Defendant
10
       Greer breached his fiduciary duties, faces a substantial likelihood of liability, is not
11
       independent or disinterested, and thus demand upon him is futile and, therefore, excused.
12
             175. Additional reasons that demand on Defendant Huggenberger is futile follow.
13
       Defendant Huggenberger has served as a Company director since 2018 and previously
14
       served as Inogen’s President from January 1, 2008 to January 1, 2016 and as its CEO
15
       from January 1, 2008 to January 1, 2017. Defendant Huggenberger receives handsome
16
       compensation, including $223,738 during fiscal year 2018. As a Company director he
17
       conducted little, if any, oversight of the Company’s engagement in the scheme to make
18
       false and misleading statements, consciously disregarded his duties to monitor such
19
       controls over reporting and engagement in the scheme, and consciously disregarded his
20
       duties to protect corporate assets. Defendant Huggenberger signed, and thus personally
21
       made the false and misleading statements in, the 2017 10-K. His insider sales before the
22
       fraud was exposed, which yielded over $19.8 million in proceeds, demonstrate his motive
23
       in facilitating and participating in the fraud. For these reasons, too, Defendant
24
       Huggenberger breached his fiduciary duties, faces a substantial likelihood of liability, is
25
       not independent or disinterested, and thus demand upon him is futile and, therefore,
26
       excused.
27

28
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                                 Verified Shareholder Derivative Complaint
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 1
             176. Additional reasons that demand on Defendant Lukatch is futile follow.
 2
       Defendant Lukatch has served as a Company director since 2006 and as its Chairman of
 3
       the Board since 2008. He is also a member of the Compensation, Nominating and
 4
       Governance Committee. Defendant Lukatch receives handsome compensation, including
 5
       $296,238 during fiscal year 2018. As a Company director he conducted little, if any,
 6
       oversight of the Company’s engagement in the scheme to make false and misleading
 7
       statements, consciously disregarded his duties to monitor such controls over reporting
 8
       and engagement in the scheme, and consciously disregarded his duties to protect
 9
       corporate assets. Defendant Lukatch signed, and thus personally made the false and
10
       misleading statements in, the 2017 10-K. His insider sales before the fraud was exposed,
11
       which yielded over $1.2 million in proceeds, demonstrate his motive in facilitating and
12
       participating in the fraud. For these reasons, too, Defendant Lukatch breached his
13
       fiduciary duties, faces a substantial likelihood of liability, is not independent or
14
       disinterested, and thus demand upon him is futile and, therefore, excused.
15
             177. Additional reasons that demand on Defendant McFarland is futile follow.
16
       Defendant McFarland has served as a Company director since 2013 and is a member of
17
       the Audit Committee. Defendant McFarland receives handsome compensation, including
18
       $236,238 during fiscal year 2018. As a Company director he conducted little, if any,
19
       oversight of the Company’s engagement in the scheme to make false and misleading
20
       statements, consciously disregarded his duties to monitor such controls over reporting
21
       and engagement in the scheme, and consciously disregarded his duties to protect
22
       corporate assets. Furthermore, Defendant McFarland signed, and thus personally made
23
       the false and misleading statements in, the 2017 10-K. His insider sales before the fraud
24
       was exposed, which yielded over $1.4 million in proceeds, demonstrate his motive in
25
       facilitating and participating in the fraud. For these reasons, too, Defendant McFarland
26
       breached his fiduciary duties, faces a substantial likelihood of liability, is not independent
27
       or disinterested, and thus demand upon him is futile and, therefore, excused.
28
                                                     50
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 1
             178. Additional reasons that demand on Defendant Rider is futile follow.
 2
       Defendant Rider has served as a Company director since 2014 and is the Chairperson of
 3
       the Compensation, Nominating, and Governance Committee. Defendant Rider receives
 4
       handsome compensation, including $240,238 during the fiscal year 2018. As a Company
 5
       director she conducted little, if any, oversight of the Company’s engagement in the
 6
       scheme to make false and misleading statements, consciously disregarded her duties to
 7
       monitor such controls over reporting and engagement in the scheme, and consciously
 8
       disregarded her duties to protect corporate assets. Furthermore, Defendant Rider signed,
 9
       and thus personally made the false and misleading statements in, the 2017 10-K. Her
10
       insider sales before the fraud was exposed, which yielded over $1.4 million in proceeds,
11
       demonstrate her motive in facilitating and participating in the fraud. For these reasons,
12
       too, Defendant Rider breached her fiduciary duties, faces a substantial likelihood of
13
       liability, is not independent or disinterested, and thus demand upon her is futile and,
14
       therefore, excused.
15
             179. Additional reasons that demand on the Board is futile follow.
16
             180. As described above, six of the Directors on the Board directly engaged in
17
       insider trading, in violation of federal law. Defendants Wilkinson, Anderson-Ray,
18
       Huggenberger, Lukatch, McFarland, and Rider collectively received proceeds of over
19
       $33.3 million as a result of insider transactions executed during the period when the
20
       Company’s stock price was artificially inflated due to the false and misleading statements
21
       alleged herein. Therefore, demand in this case is futile as to them, and thus excused.
22
             181. Demand in this case is excused because the Directors control the Company
23
       and are beholden to each other. The Directors have longstanding business and personal
24
       relationships with each other and the other Individual Defendants that preclude them
25
       from acting independently and in the best interests of the Company and the shareholders.
26
       For example, Defendant Beardsley is a Managing Partner at Novo Ventures (US), a
27
       subsidiary of Novo Holdings A/S, which owns more Inogen stock (16.73%) than any
28
                                                    51
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 1
       other company or individual. Though Inogen does not consider Defendant Beardsley “to
 2
       be a beneficial owner of, nor [have] a reportable pecuniary interest in, the shares held by
 3
       Novo Holdings A/S,” it is unlikely that the other Directors will subject Defendant
 4
       Beardsley to a lawsuit for fear of losing Novo’s business. These conflicts of interest
 5
       precluded the Directors from adequately monitoring the Company’s operations and
 6
       internal controls and calling into question the Individual Defendants’ conduct. Thus, any
 7
       demand on the Directors would be futile.
 8
             182. Defendants Anderson-Ray, McFarland, and Greer (the “Audit Committee
 9
       Defendants”) were members of the Audit Committee during the Relevant Period.
10
       According to the Committee’s charter, its members are charged with maintaining, inter
11
       alia: effective internal controls, compliance with relevant laws and rules, and the integrity
12
       of Inogen’s financial reports. The Audit Committee Defendants failed in all of their
13
       above charges by allowing the Company to make material accounting errors and issue
14
       false and misleading statements in its SEC filings. Thus, the Audit Committee
15
       Defendants breached their fiduciary duties, are not disinterested, and demand is excused
16
       as to them.
17
             183. In violation of the Code of Conduct, the Directors conducted little, if any,
18
       oversight of the Company’s internal controls over public reporting and of the Company’s
19
       engagement in the Individual Defendants’ scheme to issue materially false and
20
       misleading statements to the public, and facilitate and disguise the Individual Defendants’
21
       violations of law, including breaches of fiduciary duty, unjust enrichment, and violations
22
       of the Exchange Act. In violation of the Code of Conduct, the Directors failed to comply
23
       with the law. Thus, the Directors face a substantial likelihood of liability and demand is
24
       futile as to them.
25
             184. Inogen has been and will continue to be exposed to significant losses due to
26
       the wrongdoing complained of herein, yet the Directors have not filed any lawsuits
27
       against themselves or others who were responsible for that wrongful conduct to attempt
28
                                                     52
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 1
       to recover for Inogen any part of the damages Inogen suffered and will continue to suffer
 2
       thereby. Thus, any demand upon the Directors would be futile.
 3
             185. The Individual Defendants’ conduct described herein and summarized above
 4
       could not have been the product of legitimate business judgment as it was based on bad
 5
       faith and intentional, reckless, or disloyal misconduct. Thus, none of the Directors can
 6
       claim exculpation from their violations of duty pursuant to the Company’s charter (to the
 7
       extent such a provision exists). As a majority of the Directors face a substantial
 8
       likelihood of liability, they are self-interested in the transactions challenged herein and
 9
       cannot be presumed to be capable of exercising independent and disinterested judgment
10
       about whether to pursue this action on behalf of the shareholders of the Company.
11
       Accordingly, demand is excused as being futile.
12
             186. The acts complained of herein constitute violations of fiduciary duties owed
13
       by Inogen officers and directors, and these acts are incapable of ratification.
14
             187. The Directors may also be protected against personal liability for their acts
15
       of mismanagement and breaches of fiduciary duty alleged herein by directors’ and
16
       officers’ liability insurance if they caused the Company to purchase it for their protection
17
       with corporate funds, i.e., monies belonging to the stockholders of Inogen. If there is a
18
       directors’ and officers’ liability insurance policy covering the Directors, it may contain
19
       provisions that eliminate coverage for any action brought directly by the Company
20
       against the Directors, known as, inter alia, the “insured-versus-insured exclusion.” As a
21
       result, if the Directors were to sue themselves or certain of the officers of Inogen, there
22
       would be no directors’ and officers’ insurance protection. Accordingly, the Directors
23
       cannot be expected to bring such a suit. On the other hand, if the suit is brought
24
       derivatively, as this action is brought, such insurance coverage, if such an insurance
25
       policy exists, will provide a basis for the Company to effectuate a recovery. Thus,
26
       demand on the Directors is futile and, therefore, excused.
27

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 1
             188. If there is no directors’ and officers’ liability insurance, then the Directors
 2
       will not cause Inogen to sue the Individual Defendants named herein, since, if they did,
 3
       they would face a large uninsured individual liability. Accordingly, demand is futile in
 4
       that event, as well.
 5
             189. Thus, for all of the reasons set forth above, all of the Directors, and, if not all
 6
       of them, at least four of the Directors, cannot consider a demand with disinterestedness
 7
       and independence. Consequently, a demand upon the Board is excused as futile.
 8
                                               FIRST CLAIM
 9
                              Against Individual Defendants for Violations of
10
                                    Section 14(a) of the Exchange Act
11
             190. Plaintiff incorporates by reference and re-alleges each and every allegation
12
       set forth above, as though fully set forth herein.
13
             191. The Section 14(a) Exchange Act claims alleged herein are based solely on
14
       negligence. They are not based on any allegation of reckless or knowing conduct by or on
15
       behalf of the Individual Defendants. The Section 14(a) claims alleged herein do not
16
       allege and do not sound in fraud. Plaintiff specifically disclaims any allegations of,
17
       reliance upon any allegation of, or reference to any allegation of fraud, scienter, or
18
       recklessness with regard to these nonfraud claims.
19
             192. Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t
20
       shall be unlawful for any person, by use of the mails or by any means or instrumentality
21
       of interstate commerce or of any facility of a national securities exchange or otherwise, in
22
       contravention of such rules and regulations as the [SEC] may prescribe as necessary or
23
       appropriate in the public interest or for the protection of investors, to solicit or to permit
24
       the use of his name to solicit any proxy or consent or authorization in respect of any
25
       security (other than an exempted security) registered pursuant to section 12 of this title
26
       [15 U.S.C. § 78l].”
27

28
                                                       54
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 1
                193. Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides
 2
       that no proxy statement shall contain “any statement which, at the time and in the light of
 3
       the circumstances under which it is made, is false or misleading with respect to any
 4
       material fact, or which omits to state any material fact necessary in order to make the
 5
       statements therein not false or misleading.” 17 C.F.R. §240.14a-9.
 6
                194. Under the direction and watch of the Directors, the 2018 Proxy Statement
 7
       failed to disclose, inter alia, that: (1) the Company was exaggerating the scope of its
 8
       TAM for its oxygen concentrators; (2) Inogen inaccurately reported the basis for its TAM
 9
       determinations; (3) the Company misattributed its sales success to the skill of its
10
       salesforce, when the true reason lay in dishonest sales techniques used to manipulate
11
       customers to pay Inogen’s higher prices (4) Inogen also reported exaggerated,
12
       unmaintainable growth in business-to-business domestic sales to HME suppliers, failing
13
       to disclose that such growth harmed its direct-to-consumer sales growth; (5) the
14
       Company overstated the proportion of its sales that were attributable to Medicare’s
15
       steadier market; and (6) Inogen failed to maintain internal controls. As a result of the
16
       foregoing, Inogen’s public statements were materially false and misleading at all relevant
17
       times.
18
                195. The Individual Defendants also caused the 2018 Proxy Statement to be false
19
       and misleading with regard to executive compensation in that they purported to employ
20
       “pay-for-performance” elements including cash and equity awards designed to: “align the
21
       interests of our executive officers with both short-term and long-term stockholders’
22
       interests” while failing to disclose that Inogen’s share price was artificially inflated as a
23
       result of false and misleading statements alleged herein.
24
                196. The 2018 Proxy Statement also made references to the Code of Conduct.
25
       The Code of Conduct required the Company and the Individual Defendants to abide by
26
       relevant laws and regulations, make accurate and non-misleading public disclosures, and
27
       not engage in insider trading. By engaging issuing false and misleading statements to the
28
                                                     55
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 1
       investing public and insider trading, the Individual Defendants violated the Code of
 2
       Conduct. The 2018 Proxy Statement failed to disclose these violations and also failed to
 3
       disclose that the Code of Conduct’s terms were being violated.
 4
             197. In the exercise of reasonable care, the Individual Defendants should have
 5
       known that by misrepresenting or failing to disclose the foregoing material facts, the
 6
       statements contained in the 2018 Proxy Statement were materially false and misleading.
 7
       The misrepresentations and omissions were material to Plaintiff in voting on the matters
 8
       set forth for shareholder determination in the 2018 Proxy Statement, including, but not
 9
       limited to, election of directors, ratification of an independent auditor, and advisory
10
       approval of executive compensation.
11
             198. The false and misleading elements of the 2018 Proxy Statement led to the re-
12
       election of Defendants Wilkinson, Anderson-Ray, and McFarland, which allowed them
13
       to continue breaching their fiduciary duties to Inogen.
14
             199. The Company was damaged as a result of the Individual Defendants’
15
       material misrepresentations and omissions in the 2018 Proxy Statement.
16
             200. Plaintiff on behalf of Inogen has no adequate remedy at law.
17
                                            SECOND CLAIM
18
                   Against Individual Defendants for Breach of Fiduciary Duties
19
             201. Plaintiff incorporates by reference and re-alleges each and every allegation
20
       set forth above, as though fully set forth herein.
21
             202. Each Individual Defendant owed to the Company the duty to exercise
22
       candor, good faith, and loyalty in the management and administration of Inogen’s
23
       business and affairs.
24
             203. Each of the Individual Defendants violated and breached his or her fiduciary
25
       duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
26
             204. The Individual Defendants’ conduct set forth herein was due to their
27
       intentional or reckless breach of the fiduciary duties they owed to the Company, as
28
                                                     56
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 1
       alleged herein. The Individual Defendants intentionally or recklessly breached or
 2
       disregarded their fiduciary duties to protect the rights and interests of Inogen.
 3
             205. In breach of their fiduciary duties, the Individual Defendants failed to
 4
       maintain an adequate system of oversight, disclosure controls and procedures, and
 5
       internal controls.
 6
             206. In further breach of their fiduciary duties owed to Inogen, the Individual
 7
       Defendants willfully or recklessly made and/or caused the Company to make false and
 8
       misleading statements and omissions of material fact that failed to disclose, inter alia,
 9
       that: (1) the Company was exaggerating the scope of its TAM for its oxygen
10
       concentrators; (2) Inogen inaccurately reported the basis for its TAM determinations; (3)
11
       the Company misattributed its sales success to the skill of its salesforce, when the true
12
       reason lay in dishonest sales techniques used to manipulate customers to pay Inogen’s
13
       higher prices (4) Inogen also reported exaggerated, unmaintainable growth in business-
14
       to-business domestic sales to HME suppliers, failing to disclose that such growth harmed
15
       its direct-to-consumer sales growth; (5) the Company overstated the proportion of its
16
       sales that were attributable to Medicare’s steadier market; and (6) Inogen failed to
17
       maintain internal controls. As a result of the foregoing, Inogen’s public statements were
18
       materially false and misleading at all relevant times.
19
             207. The Individual Defendants failed to correct and/or caused the Company to
20
       fail to rectify any of the wrongs described herein or correct the false and misleading
21
       statements and omissions of material fact referenced herein, rendering them personally
22
       liable to the Company for breaching their fiduciary duties.
23
             208. In breach of their fiduciary duties, seven of the Individual Defendants
24
       engaged in lucrative insider sales while the price of the Company’s common stock was
25
       artificially inflated due to the false and misleading statements of material fact discussed
26
       herein.
27

28
                                                     57
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 1
             209. The Individual Defendants had actual or constructive knowledge that the
 2
       Company issued materially false and misleading statements, and they failed to correct the
 3
       Company’s public statements. The Individual Defendants had actual knowledge of the
 4
       misrepresentations and omissions of material facts set forth herein, or acted with reckless
 5
       disregard for the truth, in that they failed to ascertain and to disclose such facts, even
 6
       though such facts were available to them. Such material misrepresentations and
 7
       omissions were committed knowingly or recklessly and for the purpose and effect of
 8
       artificially inflating the price of the Company’s securities and disguising insider sales.
 9
             210. The Individual Defendants had actual or constructive knowledge that they
10
       had caused the Company to improperly engage in the fraudulent scheme set forth herein
11
       and to fail to maintain adequate internal controls. The Individual Defendants had actual
12
       knowledge that the Company was engaging in the fraudulent scheme set forth herein, and
13
       that internal controls were not adequately maintained, or acted with reckless disregard for
14
       the truth, in that they caused the Company to improperly engage in the fraudulent scheme
15
       and to fail to maintain adequate internal controls, even though such facts were available
16
       to them. Such improper conduct was committed knowingly or recklessly and for the
17
       purpose and effect of artificially inflating the price of the Company’s securities and
18
       engaging in insider sales. The Individual Defendants, in good faith, should have taken
19
       appropriate action to correct the schemes alleged herein and to prevent them from
20
       continuing to occur.
21
             211. These actions were not a good-faith exercise of prudent business judgment
22
       to protect and promote the Company’s corporate interests.
23
             212. As a direct and proximate result of the Individual Defendants’ breaches of
24
       their fiduciary obligations, Inogen has sustained and continues to sustain significant
25
       damages. As a result of the misconduct alleged herein, the Individual Defendants are
26
       liable to the Company.
27
             213. Plaintiff on behalf of Inogen has no adequate remedy at law.
28
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 1
                                             THIRD CLAIM
 2
                       Against Individual Defendants for Unjust Enrichment
 3
             214. Plaintiff incorporates by reference and re-alleges each and every allegation
 4
       set forth above, as though fully set forth herein.
 5
             215. By their wrongful acts, violations of law, and false and misleading
 6
       statements and omissions of material fact that they made and/or caused to be made, the
 7
       Individual Defendants were unjustly enriched at the expense of, and to the detriment of,
 8
       Inogen.
 9
             216. The Individual Defendants either benefitted financially from the improper
10
       conduct and their making lucrative insider sales, received unjustly lucrative bonuses tied
11
       to the false and misleading statements, or received bonuses, stock options, or similar
12
       compensation from Inogen that was tied to the performance or artificially inflated
13
       valuation of Inogen, or received compensation that was unjust in light of the Individual
14
       Defendants’ bad faith conduct.
15
             217. Plaintiff, as a shareholder and representative of Inogen, seeks restitution
16
       from the Individual Defendants and seeks an order from this Court disgorging all
17
       profits—including from insider sales, benefits, and other compensation, including any
18
       performance-based or valuation-based compensation—obtained by the Individual
19
       Defendants due to their wrongful conduct and breach of their fiduciary duties.
20
             218. Plaintiff on behalf of Inogen has no adequate remedy at law.
21
                                           FOURTH CLAIM
22
                   Against Individual Defendants for Waste of Corporate Assets
23
             219. Plaintiff incorporates by reference and re-alleges each and every allegation
24
       set forth above, as though fully set forth herein.
25
             220. As a further result of the foregoing, the Company will incur many millions
26
       of dollars of legal liability and/or costs to defend unlawful actions (such as the Securities
27

28
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 1
       Class Action), to engage in internal investigations, and to lose financing from investors
 2
       and business from future customers who no longer trust the Company and its products.
 3
             221. As a result of the waste of corporate assets, the Individual Defendants are
 4
       each liable to the Company.
 5
             222. Plaintiff on behalf of Inogen has no adequate remedy at law.
 6
                                         PRAYER FOR RELIEF
 7
             223. FOR THESE REASONS, Plaintiff demands judgment in the Company’s
 8
       favor against all Individual Defendants as follows:
 9
                    (a)     Declaring that Plaintiff may maintain this action on behalf of Inogen,
10
       and that Plaintiff is an adequate representative of the Company;
11
                    (b)     Declaring that the Individual Defendants have breached and/or aided
12
       and abetted the breach of their fiduciary duties to Inogen;
13
                    (c)     Determining and awarding to Inogen the damages sustained by it as a
14
       result of the violations set forth above from each of the Individual Defendants, jointly and
15
       severally, together with pre-judgment and post-judgment interest thereon;
16
                    (d)     Directing Inogen and the Individual Defendants to take all necessary
17
       actions to reform and improve its corporate governance and internal procedures to
18
       comply with applicable laws and to protect Inogen and its shareholders from a repeat of
19
       the damaging events described herein, including, but not limited to, putting forward for
20
       shareholder vote the following resolutions for amendments to the Company’s Bylaws or
21
       Articles of Incorporation and the following actions as may be necessary to ensure proper
22
       corporate governance policies:
23
                          1. a proposal to strengthen the Board’s supervision of operations and
24
                 develop and implement procedures for greater shareholder input into the
25
                 policies and guidelines of the Board;
26
                          2. a provision to permit the shareholders of Inogen to nominate at least
27
                 four candidates for election to the Board; and
28
                                                      60
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 1
                          3. a proposal to ensure the establishment of effective oversight of
 2
                  compliance with applicable laws, rules, and regulations.
 3
                    (e)     Awarding Inogen restitution from the Individual Defendants, and each
 4
       of them;
 5
                    (f)     Awarding Plaintiff the costs and disbursements of this action,
 6
       including reasonable attorneys’ and experts’ fees, costs, and expenses; and
 7
                    (g)     Granting such other and further relief as the Court may deem just and
 8
       proper.
 9
                                     JURY TRIAL DEMANDED
10

11
       Plaintiff hereby demands a trial by jury.
12
         Dated: June 26, 2019                      Respectfully submitted,
13

14                                                 THE ROSEN LAW FIRM, P.A.

15                                                 By: /s/ Laurence M. Rosen
16                                                 Laurence M. Rosen (SBN 219683)
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25                                                 Counsel for Plaintiff
26
27

28
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                                                        VERIFICATION

                    I, Twana Brown, am a plaintiff in the within action. I have reviewed the allegations
            made in this shareholder derivative complaint, know the contents thereof, and authorize its filing.
            To those allegations of which I have personal knowledge, I believe those allegations to be true.
            As to those allegations of which I do not have personal knowledge, I rely upon my counsel and
            their investigation and believe them to be true.

                   I declare under penalty of perjury that the foregoing is true and correct. Executed this _th
            day of __________,
                     6/25/2019 2019.


                                              ______________________
                                               Twana Brown
